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                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF FLORIDA

                                                  Case No.: 16-20897-CR-SEITZ

   UNITED STATES OF AMERICA

                         v.

   PRINCESS CRUISE LINES, LTD.,

                     Defendant.
   ________________________________/

                    QUARTERLY REPORT OF THE COURT APPOINTED MONITOR (APRIL 2019)

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   I.     INTRODUCTION

          Pursuant to the Court’s Orders of April 26, 2018, Dkt. No. 66, February 6, 2019, Dkt. No.

   90, and February 22, 2019, Dkt. No. 91, the CAM submits this third quarterly report for ECP

   Year Two (“CAM April 2019 Quarterly Report” or “Report”). 1

          A.      Overview of CAM Quarterly Report

          The Court ordered that the CAM submit Quarterly Reports to provide updates on the

   monitorship and to address issues identified by the Court and the CAM. See CAM September

   2018 Quarterly Report at 1. This Report focuses on events and developments occurring during

   the period from November 19, 2018, through February 18, 2019. However, certain notable

   developments occurring after February 18, 2019, are included in the discussions below, as

   appropriate.

          Part I.B describes the petition filed by the U. S. Probation Office to revoke the

   Company’s probation. Part I.C provides an overview of the CAM’s areas of focus and goals for

   this Report. Part I.D discusses several recent ECP modifications, as well as other forthcoming

   proposed ECP modifications the CAM expects the Company to submit in the coming months. In

   addition, this section examines exchanges between the Company, CAM, TPA, and Interested

   Parties regarding the term “Major Non-Conformity” in the ECP.

          Part II of this Report provides an overview of the CAM Team’s activities during the third

   quarter of ECP Year Two, as well as an overview of the CAM’s oversight of the TPA and of the

   Company’s audit function conducted by its Risk Advisory and Assurance Services (“RAAS”)




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     Any terms not defined in this Report take the definitions provided in the ECP, the Joint
   Glossary of Terms, Dkt. No. 58-1, or the First Annual Report of the Court Appointed Monitor
   (2017-2018) (“CAM First Annual Report”).


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   department. Part III of this Report provides updates on the Company’s capabilities to meet ECP

   objectives, the Company’s efforts with respect to ECP compliance, and other areas of focus.

          B.      Probation Revocation Petition

          On March 8, 2019, the U.S. Probation Officer filed a petition with the Court alleging

   three violations of the terms and conditions of probation by the Company: (1) “On or about

   December 9, 2017 continuing through March 13, 2018, [committing] the offense of: Criminal

   Contempt of Court, contrary to 18 U.S.C. j 401(3)” for “fail[ing] to follow a Judicial Order

   issued on December 4, 201[7] by United States District Judge Patricia A. Seitz regarding the

   cessation of preaudit vessel visit program(s);” (2) failing “to designate a senior corporate officer

   as [CCM] with responsibility and authority for implementation of the [ECP] . . . as evidenced by

   the defendant corporation implementing a vessel visit program without authorization or

   knowledge from the [CCM] after the December 4, 201[7] status hearing;” and (3) on or about

   June 8, 2017, falsifying training records onboard two vessels pursuant to Carnival Corp. Notice

   of Violations #04-2017 and #06-2017. Dkt. No. 93 (Court only) at 4.

          An Initial Appearance was held on March 18, 2019. See Dkt. No. 98. As of the date of

   this Report, the Company is engaged in discussions with the Interested Parties, CAM, and TPA

   regarding potential options for addressing or resolving the allegations in the petition.

          C.      Areas of Focus

          The CAM has continued to gather information with respect to the areas of focus

   identified in the CAM First Annual Report and the prior Quarterly Reports. See CAM First

   Annual Report at 68-74; CAM September 2018 Quarterly Report at 2-6; CAM December 2018

   Quarterly Report at 1-2. This Report focuses on providing updates for those areas of interest in

   which significant developments occurred during the covered time period of November 19, 2018,




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   through February 18, 2019. This Report does not provide the more detailed assessments or

   findings regarding the Company’s performance in the areas of focus that the CAM expects to

   provide in the Annual Report for ECP Year Two. See id. at 2.

              D.     ECP Modifications

                     1.         January 10, 2019 Modifications

              On January 10, 2019, the CCM submitted to the Interested Parties proposed

   modifications to the ECP. See Letter from C. Donald, Re: Proposed Modifications to the

   Environmental Compliance Plan (Jan. 10, 2019) (“Proposed ECP Modification Letter”),

   PCL_ECP00086780-85, included with this Report as Attachment 1. The stated goal of these

   modifications “is to better achieve the overall purpose of the ECP—sustained environmental

   compliance and continuous improvement—while eliminating some of the inefficiencies that can

   often interfere with that goal.” Id. at 2. While many of the modifications are of a relatively

   minor nature (e.g., correcting typographical errors, formally codifying existing practices), the

   more significant modifications are discussed below. As noted in the Company’s letter, these

   modifications were developed in consultation with the CAM and TPA. See id. at 1.

              Under the ECP, proposed modifications become effective after thirty days, unless the

   Interested Parties provide written comments on the proposal within this time period. See

   ECP § I.H. The Interested Parties did not provide written comments on the Company’s Proposed

   ECP Modification Letter. Therefore, the CAM understands that these modifications became

   effective on February 11, 2019 (i.e., thirty days from the date of the Proposed ECP Modification

   Letter).

                           i.      Environmental Officer Unannounced Machinery Space Visits

              The most significant proposed modification was to ECP Section IV.A.2.j, which

   previously required Environmental Officers to “[c]onduct unannounced machinery space visits at


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   least twice per week to observe the operation of the [Oily Water Separator] and [Oil Content

   Meter] (when in operation) for a period of one hour, including start and stop times.”

   ECP § IV.A.2.j.ii (original 2017 text). At least one of the two required weekly visits was

   required to be conducted “outside of normal day work hours.” Id.

          As discussed in the prior Quarterly Report, many Environmental Officers reported that

   this provision was unclear, impractical, and burdensome to implement. See CAM December

   2018 Quarterly Report at 19-20; see also Proposed ECP Modification Letter at 2-3. 2 Likewise,

   the TPA reported that the provision was difficult to audit to because of its lack of clarity. After

   these issues were raised at the September 2018 “Environmental Commitment Conference,” the

   CCM, several Environmental Officers, and other Company employees coordinated with the

   CAM and the TPA on developing revised language for this provision.

          As described in the Company’s letter, the modification “designs the [Environmental

   Officer’s] visits so as to maximize the opportunity that the [Environmental Officer] will observe

   the [Oily Water Separator] and [Oil Content Meter] in operation without providing advance

   notice, provides guidance for how the [Environmental Officer] should manage to observe start or

   stop times of the system, 3 and preserves the requirement that at least one weekly visit fall outside

   of normal work hours.” Id. at 2-3. The CAM supports this modification. The CAM will


   2
     For instance, the requirement to observe the equipment “for a period of one hour, including
   start and stop times” appears to require the Environmental Officer to be present for both start and
   stop times. However, “the system does not stop after one hour but instead lasts many hours.” Id.
   at 2. Therefore, requiring the Environmental Officer to attend both start and stop times “would
   require that he or she remain in the engine room for much longer than one hour, which would
   significantly impede [his or her] ability to meet other important obligations under the ECP.” Id.
   3
    Specifically, the modification clarifies that “[d]uring the hour visit the [Environmental Officer]
   shall observe any [Oily Water Separator/Oil Content Meter] and White Box that is in operation.
   The hour time period does not require continuous operation, and can include time used to start
   or stop the equipment.” Id. at 3 (emphasis added).


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   continue to engage with Environmental Officers, the CCM, and the TPA to assess whether the

   modified language is successful in reducing the uncertainty and burden associated with this task

   for Environmental Officers, and in aiding the ability of the TPA to audit this requirement.

                        ii.   Staggering of ECP Video Messages

          The Company also proposed to modify ECP Section III.F.1, which previously required

   the Carnival Corp. CEO and operating line presidents, respectively, to advise all employees

   during the first quarter of each fiscal year of “i) Defendant’s criminal conviction and probation;

   ii) CARNIVAL’s commitment to environmental compliance; and iii) to the existence of this

   ECP, its material provisions, and how to access a copy of it.” ECP § III.F.1 (original 2017 text).

   To fulfill this requirement, the Company issues communications in the form of video messages

   from the CEO and operating line presidents. The modification allows the Company to stagger

   these video messages throughout the fiscal year (rather than issuing both during the first quarter),

   so that each operating line shows the video featuring the CEO during the first quarter of each

   fiscal year and a video featuring the operating line president during the third quarter of each

   fiscal year. According to the Company, staggering the videos allows the Company “to refresh its

   environmental compliance message more frequently and provide more opportunities to update

   that message.” Proposed ECP Modification Letter at 4. The CAM does not object to this

   change.

                       iii.   Other Modifications

          The Company proposed a number of other ECP modifications, a chart of which is

   included with this Report as Attachment 2. See Chart, Proposed Modifications to Environmental

   Compliance Plan (Jan. 10, 2019), PCL_ECP00086786-91. The CAM does not object to these

   other changes.




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                  2.     Forthcoming Proposed Modifications

          In addition to the ECP modifications proposed on January 10, 2019, the Company has

   indicated that it intends to propose further modifications, including changes to provisions

   regarding the (1) Environmental Control System (“ECS”) program; and (2) structure of the

   internal investigations department. As described below, the CAM appreciates the need for

   modifications to these sections of the ECP and awaits further action from the Company.

                        i.   ECS Program

          The Company’s January 10, 2019 letter stated that the Company was engaged in

   discussions with the CAM and TPA regarding “changes to several provisions in the ECP relating

   to [the ECS program],” 4 as well as discussions “related to the efficiency of the ECS monitoring.”

   Proposed ECP Modification Letter at 1. The Company further stated that it plans to “submit any

   proposed modifications concerning the ECS once it reaches alignment with the CAM and the

   TPA on how best to improve that system.” Id.

          The CAM has been actively engaged with the Company and the TPA on issues related to

   the ECS program since at least the summer of 2018. In August 2018, the CAM Team and TPA,

   at the invitation of the CCM, attended an ECS workshop at Holland America Group’s offices in

   Seattle, Washington. See CAM September 2018 Quarterly Report at 20. Among other things,

   the workshop concluded that the clarity and value of the ECP program could be improved. See

   id. That same month, the Company launched a survey of a sample of ships at each brand to



   4
     See ECP § IX.B (requiring Carnival Corp. to implement an ECS “to help prevent unauthorized
   usage or connections within the engine room and machinery spaces,” under which Carnival
   Corp. “shall require crew members to use numbered seals, locks, or welds (on flanges) to prevent
   the unauthorized connection to, and discharge through, piping systems that are or may be
   connected to the oily bilge system or overboard discharge connections”); see also CAM First
   Annual Report at 14, 52-53.


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   evaluate each ship’s ECS program implementation. On January 8, 2019, the CCM formally

   notified the CAM and TPA of the results of the survey, which found “implementation

   inconsistencies” with the program. See Letter from C. Donald, Re: Court Appointed Monitor

   and Third Party Auditor Communication (Jan. 8, 2019), PCL_ECP00086778-79. Specifically,

   the survey confirmed that most ships surveyed “did not fully comply with Company procedures

   for the control of vulnerable connections and had deviated from the methodology that should

   have been utilized.” Id. at 1. Further, “[s]ome ships installed more seals than required making

   onboard management of the program quite challenging.” Id. These implementation issues were

   attributed, among other factors, to the “condensed timeline” on which the program had to be

   implemented on more than one hundred ships. Id. The letter further stated that the Company

   was in the process of “developing plans to improve ECS compliance and increase application

   consistency across our fleet.” Id.

          Recognizing that ECS program implementation has been an ongoing challenge for the

   ships, the CAM sent a letter on January 25, 2019 to the Interested Parties outlining four

   significant flaws in the current ECS program identified by the CAM and TPA. See Letter from

   S. Solow, Re: Environmental Compliance Plan (“ECP”) Environmental Control System

   (“ECS”) (Jan. 25, 2019) (“CAM ECS Letter”) and Attachment to CAM Letter Regarding ECP

   Environmental Control System (01/25/2019), included with this Report as Attachments 3 and 4.

   Among these flaws were that “the broad language of the ECP, coupled with the overall lack of

   centralization within the Company on compliance matters, has led to a wide variety of

   interpretations of the ECS requirements [with some ships having as many as 2,000 seals, and

   others having as few as five]” and that “the lack of clarity and consistency of the current ECS




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   program has made the TPA’s auditing job difficult, and frustrated both the TPA auditors and the

   ships’ crews.” CAM ECS Letter at 2.

          The CAM’s letter also describes an alternative approach to the ECS program—fleshed

   out over a period of several months with the Company and the TPA—that would require a

   revision of the ECP. This alternative approach would consist of:

          1. Revised language to ECP § IX.B.1 to reflect the role of the ECS to “deter and detect”
             (rather than “prevent”) unauthorized usage or connections.

          2. Revised language to allow for the use of pump (portable) and hose control as an
             effective means of deterring and detecting unauthorized usage or connections. 5

          3. Revised language to limit the locations where seals or locks are required to be
             installed to: (1) overboard discharge points back to the first valve on the line
             connection (for “dirty” systems only—e.g., bilge/oil residue (sludge), grey, black
             water, food waste); (2) emergency direct bilge suctions, emergency bilge suction
             valves, crossover valves, and eductors; and (3) any identified internal “dirty-to-clean”
             cross connections.

          4. In addition to revisions to the ECP, a revision of the company’s Global HESS
             Procedure ENV-1204 to reflect these changes, and (consistent with the Company’s
             goal to provide meaningful compliance authority for the CCM) new language in
             ENV-1204 and INT-10005 that would give the CCM authority over any revision to
             this approach.

   Id. at 3. The goal of this approach “is to have an ECS program that can be consistently

   implemented, is objectively auditable, and is sustainable beyond the span of the ECP.” Id. The

   CAM’s letter urges the Interested Parties to support any proposed ECP modifications that are



   5
     As noted in the CAM’s letter, the ECP currently requires the use of seals or locks (not pump
   and hose control) to secure vulnerable connections. Based on the CAM’s discussions with the
   TPA and the Company, “all agree that the use of pump (portable) and hose control (so-called
   virtual seals or locks) would be more effective and more efficient than seals. However, because
   of the current ECP requirements, if ships have used pump and hose control, the TPA has been
   (properly) issuing audit non-conformities in ECP Year Two.” Id. (citations to TPA audit reports
   omitted). Resolving these repeated audit findings in a reasonable way—i.e., by allowing the use
   of pump and hose control in lieu of seals or locks—appears to require revision of the ECP. See
   id.


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   consistent with this approach “and indeed consider them as an approach appropriate for use in

   subsequent ECP agreements.” Id.

          Now that the CAM, TPA, and Company appear to have reached “alignment . . . on how

   best to improve [the ECS] system,” see Proposed ECP Modification Letter at 1, the CAM looks

   forward to further engagement with the Company on proposed revisions to the ECP and the

   Company’s related Global HESS procedures. See also February 2019 USPO Supervision

   Report, Attachment 3, at 2 (noting that the CCM “has developed revised ECS language that [the

   Company] hope[s] will be incorporated into the ECP through a change request in the coming

   months, this effort will be undertaken in collaboration with the TPA and CAM with the goal of

   developing a robust, sustainable and auditable approach to controlling vulnerable connections

   within the machinery spaces, as well as to implement improved and enhanced portable pump

   control procedures”). On March 29, 2019, the CCM provided the CAM and TPA with draft

   proposed modifications to ECP provisions regarding the ECS program. The CAM Team is

   reviewing this draft proposal.

                       ii.   Investigations Department

          The Company’s January 10, 2019 letter also stated that the Company was engaged in

   discussions with the CAM and TPA regarding “a restructuring of the Company’s department

   responsible for incident investigations.” Proposed ECP Modification Letter at 1. 6 At the time of


   6
     As discussed in prior CAM Reports, the Company has recognized the need to improve its
   internal investigations function and has proposed to create a new Global HESS Investigations
   Department that would be separate from RAAS and would take over from RAAS responsibility
   for all significant HESS incident investigations. See CAM December 2018 Quarterly Report at
   30-31. To allow for this re-structuring, the Company has stated that it intends to propose
   modifications to ECP Sections III.B.1(b) and (c)—which currently provide for RAAS (rather
   than the new Global HESS Investigations Department) to investigate Covered Vessel casualties
   and oil pollution incidents and Hotline reports. See id. The CAM generally supports this
   approach.


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   the letter, the Company reported that it was “finalizing the exact structure of its investigations

   department as it continues its search for a Vice President to oversee the restructured investigation

   function,” and that it planned “to submit its proposed modification of its investigative function

   shortly after this hiring process is complete, most likely during the first quarter of 2019.”

   Proposed ECP Modification Letter at 1. As discussed infra, Part III.G, the Company has since

   hired a Vice President of Global HESS Investigations, who began work on March 25, 2019. The

   CAM looks forward to further engagement from the Company on proposed revisions to ECP

   Sections III.B.1(b) and (c). On March 29, 2019, the CCM provided draft proposed ECP

   modifications to these provisions to the CAM and TPA. The CAM Team is reviewing this draft

   proposal.

                  3.      Definition of “Major Non-Conformity”

          Since ECP Year One, the Company has raised objections (both in writing and informally)

   to certain aspects of the term “Major Non-Conformity” 7 in the ECP—in particular, as to whether

   the discovery of inoperable pollution prevention equipment should qualify as a Major Non-

   Conformity if “redundant” equipment performing the same function remains operable. On

   March 9, 2018, the Company sent a letter to the CAM to discuss, among other proposals, a

   potential proposed ECP modification to the term. See Letter from D. Kelley, Proposed

   Amendments to the ECP (Mar. 9, 2018). Specifically, the Company’s proposal would have

   added a sentence to the definition of a Major Non-Conformity “to make clear that an inoperable


   7
     The ECP defines “Major Non-Conformity” as “an observed situation where objective evidence
   indicates a violation of a Marine Environmental Protection Requirement or policies established
   by this ECP that consists of or contributes to the discharge or potential discharge of oil, or oily
   wastes, or other prohibited wastes into the water. It may also include the discovery of pollution
   prevention equipment determined to be incapable in terms of processing and monitoring
   capabilities or inadequate with respect to the quantities of wastes such equipment is required to
   process.” ECP § I.D; see also CAM First Annual Report at 42-43.


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   piece of pollution prevention equipment does not rise to the level of a Major Non-Conformity if

   redundant equipment remains operable and satisfies all of the Company’s pollution prevention

   obligations under MARPOL or any other applicable federal, state, or local laws or regulations.”

   Id. at 2. 8

            In a separate set of correspondence between the Company and the Government, the

   Government disputed the Company’s position that “inoperable pollution prevention equipment

   should not be designated a major non-conformity if a ‘redundant’ component is operational.”

   Letter from R. Udell, United States v. Princess (Case 1:16-cr-20897) (Mar. 27, 2018), at 2.

   Among other things, the Government noted that ships are required to carry certificates which

   “identify the equipment and procedures used to handle pollutants and their waste streams” and

   that the “inoperability of this equipment is unquestionably a very significant event” which

   “generally results in the detention of a ship. See 33 U.S.C. § 1904(e)(2) (stating the Secretary of

   Homeland Security ‘shall’ detain ships ‘whose condition or whose equipment’s condition does

   not substantially agree with the particulars of the certificate aboard.’); and MARPOL, Art. 5.”

   Id. at 3 (emphasis in original). In addition, the Government observed that “the failure of such

   [‘redundant’] components had systemic consequences and played a significant role in the

   [conduct on the Caribbean Princess] leading to conviction.” Id. The Government also remarked

   that the ECP category of a Major Non-Conformity “was intended to provide the [Company] with

   remedial guidance by highlighting the most significant problems, problems that need prompt


   8
     That sentence, appended to the end of the existing ECP definition, would have read:
   “Notwithstanding the foregoing sentence, a Major Non-Conformity shall not include the
   discovery of inoperable pollution prevention equipment if the vessel is equipped with a
   redundant system or equipment, or if the vessel possesses operable pollution prevention
   equipment of the same type or capability sufficient to satisfy all Marine Environmental
   Protection Requirements; any such discovery shall be recorded as an Observation.” Id., ECP
   Proposed Amendments Chart Attachment.


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   attention, and problems that warrant consideration as to whether they represent a more systemic

   problem.” Id. (emphasis added). Likewise, “the category can be helpful to the Court, Office of

   Probation, government, CAM and TPA.” Id. The Government further observed that “Carnival’s

   complaints about the use of this designation, when viewed in context, appear to reflect an

   antagonistic corporate culture where management prizes avoiding adverse findings more than

   achieving actual compliance and progress.” Id. at 3-4 (emphasis added). The Government

   concluded by stating that it would oppose the Company’s proposal to modify the definition of

   Major Non-Conformity. See id. at 4.

          On March 29, 2018, the CAM and TPA provided joint comments in response to the

   Company’s proposal, which noted that the issue was “the subject of separate correspondence

   between the government and the Company” and that the CAM and TPA “will follow whatever

   course is agreed to by the government and the Company.” See Email from S. Solow, Re:

   Proposed ECP Amendments -- U.S. v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)

   (Mar. 29, 2018), Attachment (“CAM/TPA Joint Comments”), at 2. The CAM and TPA further

   noted that “the term ‘Major Non-Conformity’ is a term of art in the maritime industry and that

   the definition assigned to it under this ECP differs from that used under the [International Safety

   Management (“ISM”)] Code and the Coast Guard regulations. 9 To the extent the nomenclature

   is causing confusion, the CAM and TPA do not object to changing ‘non-conformity’ to ‘non-


   9
     For example, the ISM Code defines a Major Non-Conformity as “an identifiable deviation that
   poses a serious threat to the safety of personnel or the ship or a serious risk to the environment
   that requires immediate corrective action or the lack of effective and systematic implementation
   of a requirement of this Code.” ISM Code, Part A, § 1.1.10 (2014) (emphasis added). Similarly,
   U.S. Coast Guard regulations define a Major Non-Conformity as “an identifiable deviation
   which poses a serious threat to personnel or vessel safety or a serious risk to the environment
   and requires immediate corrective action; in addition, the lack of effective and systematic
   implementation of a requirement of the ISM Code is also considered a major non-conformity.”
   33 C.F.R. § 96.120.


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   compliance’ or other similar term.” CAM/TPA Joint Comments at 2-3. In addition, the CAM

   and TPA observed that “the failure of ‘redundant’ pollution prevention equipment preceded the

   illegal discharges leading to the plea in this matter.” Id. at 3.

           It has been nearly a year since these exchanges with the Government, CAM, and TPA.

   During this time, the Company has not communicated with any of these parties with regard to a

   formal proposal to modify the definition of Major Non-Conformity (although the Company has

   maintained its position on the subject during discussions between the CAM and Company

   management). However, on February 27, 2019, the Government informed the Company that it

   was “recently surprised to learn” that on June 19, 2018, a senior executive at Holland America

   Group had contacted former colleagues at the U.S. Coast Guard 10 “directly seeking support for

   Carnival’s position.” Letter from R. Udell, Re: United States v. Princess (Case No. 1:16-cr-

   20897) (Feb. 27, 2019), at 1. The Government reiterated that “any change to the ECP needs to

   be raised with the government and the interested parties, and ultimately, with the Court.” Id. at

   1-2. The Government further requested that the Company “confirm that any such requests will

   be properly channeled through [the] government’s representatives and the other designated

   interested parties going forward so that may be considered in context” and “inform us whether

   any of the individuals that have been representing Carnival in Court were aware of or otherwise

   involved in this effort, or any related efforts.” Id. at 2. To date, the CAM is unaware of any

   response from the Company.

           This effort seems to underscore the Government’s concern, noted above, that the current

   attitude of Company management “appear[s] to reflect an antagonistic corporate culture where


   10
     As far as the CAM is aware, the individuals at the U.S. Coast Guard who were contacted are
   not the same individuals who have been assigned to the instant United States v. Princess criminal
   matter before the Court.


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   management prizes avoiding adverse findings more than achieving actual compliance and

   progress”—i.e., by seeking to revise the definition of Major Non-Conformity to exclude some

   non-working pollution prevention equipment. See Letter from R. Udell, United States v.

   Princess (Case 1:16-cr-20897) (Mar. 27, 2018), at 3-4 (emphasis added). Given the role that

   non-working pollution prevention equipment played in the felony convictions in this matter, it

   would seem more appropriate for the Company to provide ships with the support and resources

   needed to keep all pollution prevention equipment on board in good operating condition. In

   addition, given the convictions related to obstruction of justice and false statements, it is

   concerning that in pursuit of its position, the Company apparently sought to lobby the U.S. Coast

   Guard through communications that were not shared with the CAM or the Department of Justice

   and Coast Guard individuals directly responsible for this matter. Finally, it appears that this

   communication regarding a contentious matter that is integral to the implementation of the ECP

   was made without the permission or knowledge of the CCM—further evidence that the role of

   the CCM is undermined by the Company itself. See infra, Part III.E.

   II.    CAM TEAM ACTIVITIES DURING THE THIRD QUARTER OF ECP YEAR TWO

          As discussed in the prior Quarterly Report, the CAM Team and the TPA continue to

   conduct the vessel and shoreside facility visits and audits anticipated by the CAM Second

   Annual Work Plan and the ECP, along with the additional vessel and shoreside facility visits and

   audits mandated in the Court’s Order of July 13, 2018 as a result of the Court’s concern that

   certain undisclosed Company vessel visit programs had “tainted” TPA audits from ECP Year

   One. See Dkt. No. 75; see also CAM September 2018 Quarterly Report at 6-8 and Attachment 1

   (describing the CAM Team’s ECP Year Two methodology); CAM December 2018 Quarterly

   Report at 2 (describing the additional court-ordered visits and audits).




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             In compliance with the Court’s direction, the CAM Team conducted the following visits

   during the period covered by this Report (November 19, 2018 through February 18, 2019):

             •   Seven vessel visits, 11 including:

                    o Six CAM Team-only visits; 12 and

                    o One TPA ride-along visit. 13

             •   Two shoreside facility visits, 14 including:

                    o One CAM Team-led visit focused on issues related to strategic planning and
                      budgets, as discussed below in Part III.I. This visit was conducted with
                      AlixPartners, the CAM’s forensic accounting consultant, and a TPA
                      representative; 15 and

                    o One RAAS shoreside audit attended by the CAM Team. 16 During this visit,
                      the CAM Team performed a limited number of CAM Team-only interviews.

   11
       In addition to these visits, on February 6, 2019, members of the CAM Team were given a tour
   of the Queen Victoria by the Carnival UK OLCM and another corporate representative while the
   vessel was in port in San Francisco, California. Further, the CAM’s retained maritime culture
   expert PROPEL SAYFR AS (“Propel”) conducted focus groups for the environmental
   compliance culture survey on the AIDAperla, Seabourn Odyssey, Royal Princess, and Costa
   Pacifica during the week of February 5, 2019, and on the Carnival Paradise and Regal Princess
   during the week of February 11, 2019. See infra, Part III.F. Additional focus groups are planned
   to take place on the Pacific Aria, Noordam, and Queen Elizabeth II during the week of March
   25, 2019.
   12
     These visits were on the Island Princess from December 5-8, 2018, Ruby Princess from
   December 8-12, 2018, Royal Princess from January 19-23, 2019, Carnival Pride from January
   24-27, 2019, Seabourn Encore from February 6-10, 2019, and Oosterdam from February 9-12,
   2019.
   13
        This visit was on the Carnival Vista from January 6-10, 2019.
   14
     In addition to these visits, between March 19, 2019, and March 29, 2019, the CAM’s retained
   maritime culture expert, Propel, conducted focus groups for the environmental compliance
   culture survey in Company shoreside offices for Carnival UK, Holland America Group and Line,
   Princess, Carnival Cruise Line, and the All Brands Group. An additional focus group at the
   Carnival Maritime Group offices is scheduled for April 8, 2019.
   15
    This visit was to Carnival Maritime Group’s shoreside offices in Genoa, Italy, Rostock,
   Germany, and Hamburg, Germany from January 21-25, 2019.
   16
     This audit was of Holland America Group shoreside offices in Seattle, Washington and Santa
   Clarita, California from February 18-22, 2019.


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          Outside of vessel and shoreside facility visits, the CAM Team has continued to:

   communicate frequently with the CCM team; work with the Company on the environmental

   compliance culture survey; attend various Company meetings, conferences, and events; and

   conduct additional formal and informal interviews and communications with Company

   personnel. The CAM Team is in regular communication with the Company, the TPA, and the

   Interested Parties, and continues to perform ongoing review of documents produced by the

   Company in relation to the work streams identified in the CAM Second Annual Work Plan and

   in response to information requests by the Government.

          In addition, the Company requested that the Office of Probation, the Department of

   Justice, the U.S. Coast Guard, the TPA, and the CAM attend a presentation by the Company’s

   outside counsel regarding the undisclosed vessel visit programs conducted by the Company

   during ECP Year One. See infra, Part III.J. On February 19, 2019, the Company’s outside

   counsel made this presentation at the U.S. Attorney’s Office in Miami, Florida.

          A.      TPA Audit Activities

          During the third quarter of ECP Year Two, the TPA conducted ten vessel audits

   (including one on which the CAM Team “rode-along”) 17 and one shoreside office audit. 18 The

   CAM continues to communicate regularly with the TPA, review TPA audit reports, and evaluate

   the adequacy and independence of the TPA.




   17
      In addition, the TPA conducted follow-up visits to the Carnival Elation, see infra Part
   III.A.1.i, and Carnival Vista to check on the status of corrective actions from prior audit findings
   on those ships.
   18
      In addition, as noted above, a TPA representative attended the CAM Team visit to Carnival
   Maritime Group’s shoreside offices in Genoa, Italy, Rostock, Germany, and Hamburg, Germany
   from January 21-25, 2019.


                                                    16
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          In addition, on January 28, 2019, the CAM Team hosted a meeting at its Washington, DC

   offices with representatives of the TPA. Among other items, the parties discussed lessons

   learned from ECP Year Two, as well as goals and areas of focus for ECP Year Three.

          The CAM plans to provide an assessment of the TPA’s activities during ECP Year Two

   in the next Annual Report.

          B.      RAAS Audit Activities

          During the third quarter of ECP Year Two, RAAS conducted thirteen 19 vessel audits on

   Covered Vessels and three audits of shoreside offices (including one with the CAM Team in

   attendance). 20 As noted above, the CAM Team observed the RAAS audit of the Holland

   America Group shoreside offices in Seattle, Washington and Santa Clarita, California from

   February 18-22, 2019. During the audit, the CAM Team accompanied RAAS auditors during

   their activities, observing the auditors’ process, including their approach to finalizing audit report

   findings. The CAM plans to provide an assessment of RAAS’s activities during ECP Year Two

   in the next Annual Report.

   III.    UPDATES ON COMPANY CAPABILITIES TO MEET ECP OBJECTIVES AND ECP YEAR
           TWO AREAS OF FOCUS

          A.      Environmental Incidents

          As in ECP Year One, the Company continues to have environmental violations and ECP

   compliance challenges during ECP Year Two, even while efforts aimed at compliance are

   underway. These include repeated instances of prohibited discharges—including what appears



   19
     This includes two vessel audits that began on February 12, 2019 and ended on February 19,
   2019, and one vessel audit that began on February 18, 2019 and ended on February 22, 2019.
   20
     This includes an audit of the P&O Australia shoreside office, which does not operate any
   Covered Vessels. It also includes one office audit that began on February 18, 2019 and ended on
   February 22, 2019.


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   to be a knowing instance of illegal discharge of contaminated food waste, and an instance of an

   alleged offer to falsify records to cover-up an illegal discharge.

          The CAM Team continues to note increased levels of incident reporting during ECP Year

   Two—although it is not possible to determine whether that is due to an increase in reporting or

   an increase in incidents or both. The extent to which the Company is able to utilize this

   information to drive continuous improvement remains to be seen. See CAM December 2018

   Quarterly Report at 6. It is important to note that these issues have arisen in the context of

   widespread expressions of frustration by shipboard personnel related to their view that the

   Company’s management prioritizes enhancing revenue over ensuring the adequacy of shipboard

   staffing and resources. See Employee Interview Notes.

                  1.       Significant Incidents

                         i.   Prohibited Discharge of Contaminated Food Waste on the Carnival
                              Elation (TPA Major Non-Conformity Finding)

          On December 18, 2018, the TPA notified the CCM, the CAM, and the Interested Parties

   of a Major Non-Conformity finding during an audit of the Carnival Elation from December 13-

   17, 2018. See Letter from J. Francic, Subj: Major Non-Conformity Finding on the Carnival

   Elation (Dec. 18, 2018) (“TPA MNC Letter”); see also ABSG, Carnival Cruise Line

   Environmental Compliance Audit Report, Carnival Elation (Jan. 23, 2019). According to the

   TPA finding, the auditor observed food waste containers that “had other items such as plastic

   straws, plastic wrap, aluminum butter wrappers, wooden stir sticks and other miscellaneous

   items mixed in the food waste that was processed through the pulpers and into the food waste

   tanks, ready to be discharged while at sea. This was confirmed with the [Environmental Officer]

   who agreed the food waste was not being segregated at the early stages but failed to take action

   as the food waste was discharged into the sea on December 16, 2018.” Id. at 5 (Major Non-



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   Conformity-01). The auditors appended photos to the Carnival Elation audit report, including

   the following:




      Paper/wooden sticks/paper wrappers inside pulper.




      Scrubbing pad/sticks inside pulper.




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        Food waste container.

           Discharge of food waste contaminated with plastics and other non-food items is a

   violation of MARPOL Annex V, which generally prohibits the discharge of all garbage, 21

   including all plastics, into the sea. See MARPOL Annex V, Reg. 3.1-3.2. 22 During the course of

   the audit, on December 15, 2018, the auditor brought the issue to the Environmental Officer’s



   21
     Garbage is broadly defined under MARPOL to include, among other things, “domestic wastes
   and operational wastes” and “all plastics,” with certain exceptions that do not appear to apply
   here. MARPOL Annex V, Reg. 1.9.
   22
     Although MARPOL permits the discharge of certain food wastes under specified conditions,
   see, e.g., MARPOL Annex V, Reg. 4.1.1-4.1.2, whenever such food wastes are “mixed with or
   contaminated by other substances [e.g., plastics] prohibited from discharge or having different
   discharge requirements, the more stringent requirements shall apply.” MARPOL Annex V, Reg.
   4.1.4. Therefore, a food waste discharge that might otherwise be permitted under MARPOL is
   not permitted if the food waste is contaminated with plastics or other garbage that cannot be
   discharged.


                                                  20
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   attention, who confirmed the presence of plastic and other non-food items mixed with the food

   waste and agreed that non-food waste was not being properly segregated. See TPA MNC Letter

   at 1. However, the TPA letter alleges that the Environmental Officer “failed to take action,” id.,

   such as by instructing the crew not to discharge the contaminated food waste at sea.

   Consequently, it appears that the food waste that the auditor observed to be contaminated with

   plastics and other non-food items was discharged into the sea the following day, on December

   16, 2018. Id. 23

          The CAM understands that the Company did not launch a full investigation into this

   incident. See Employee Interview Notes. The Company reported that it implemented corrective

   actions following the TPA finding in the form of re-training the individuals involved in the

   incident, as well as re-training employees fleetwide who are involved in food waste segregation

   on Carnival Cruise Line ships. See id.

          On February 21-22, 2019, the TPA performed a follow-up visit to the ship to check on

   the status of correction actions. The TPA shared with the Company that the ship continues to

   have challenges sorting food and non-food waste. 24 After the TPA’s follow-up visit, the


   23
     The TPA auditor did not directly witness the discharge. However, he reviewed the Garbage
   Record Book and confirmed with bridge officers that approximately 6.0 cubic meters of food
   waste were discharged from the food waste tank on the morning of December 16, 2018. See 16
   DEC 18 Carnival Elation Garbage Log.
   24
      Such challenges may represent a systemic issue. In prior audits, the TPA has made similar
   findings regarding poor food waste segregation practices on other ships. See, e.g., ABSG,
   Carnival Cruise Line Environmental Compliance Audit Report, Sea Princess (Dec. 19, 2017), at
   4 (Major Non-Conformity-03) (“It was witnessed that the Food Waste Chute had several
   unauthorized items in the food waste that is going down the chute and overboard, items such as
   plastic straws, corn on the cob holders, wooden stir sticks, plastic tea bag packages, and plastic
   knives. The unauthorized waste was not being segregated at the early stage of the collecting the
   food waste. This was noted during the galley inspection as it was found that there is plastic
   straws, paper, wood stir sticks and rubber bands in the pulpers.”); ABSG, Carnival Cruise Line
   Environmental Compliance Audit Report, Ruby Princess (Feb. 15, 2018), at 4 (Major Non-
   Conformity-01) (“Auditor witnessed 55-gallon containers held several unauthorized items


                                                   21
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   Company reported that Carnival Cruise Line will assemble a review team to visit certain ships,

   including the Carnival Elation, “with the goal of further assessing and dissecting the food waste

   process to identify further enhancements such as reducing the volume of single serve items and

   better sorting setup.” Email from C. Donald, Elation Update (Mar. 6, 2019). According to the

   Company, the results “will lead to additional short and longer term actions that will be applied

   across the [Carnival Cruise Line] fleet to help prevent non-compliance . . . The [Carnival Cruise

   Line] team will also consult with [Holland America Group] who appear to be doing a better job

   of compliance in this area of operation[.]” Id. One such action, implemented on March 7, 2019,

   is discontinuing the use of individually foil-wrapped butter packets on Carnival Cruise Line

   ships. See Email from C. Donald, FW: Butter Chiplits -102152 BUTTER PATTY SALTED IND

   WRAPPED 10 GR .35 OZ (Mar. 7, 2019).

          On March 20, 2019, the Company reported a near miss incident concerning food waste

   segregation practices on the Carnival Elation that occurred on March 5, 2019. See Carnival

   Corporation & plc HESS Weekly Flash Report (Mar. 20, 2019). According to the Company’s

   report, the Environmental Officer “observed plastic wrap and packaging in the pulper of the lido

   galley [i.e., the main passenger dining hall kitchen], the pulper of the crew galley [i.e., the crew

   dining hall kitchen], in the pot wash, and in a red bin in the lido galley. Supervisors were



   destined to go down the waste chute and overboard. These items were plastic straws, plastic
   corn on the cob holders, wooden stir sticks, toothpicks, wooden steak identifiers, paper, paper
   clips and aluminum foil wrappers. The unauthorized waste was not being segregated at the early
   stage of segregating the food waste.”); ABSG, Carnival Cruise Line Environmental Compliance
   Audit Report, Carnival Dream (Aug. 24, 2018), at 5 (Major Non-Conformity-01) (“In the
   marshalling area of the garbage handling space, it was found that disposal of food waste [sic]
   were several unauthorized items mixed in waste containers that were ready to be discharged
   down the chute and then overboard while at sea. These items are but not limited to: aluminum
   bottle caps, broken plastic cups, cotton swabs (Q‐tips), emery cloth, plastic straws, napkins,
   paper and umbrellas for drinks.”).


                                                    22
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   informed to take strict corrective actions.” Id. The Company reported that it considers this

   incident a near miss, rather than a prohibited discharge, because “the pulper had not been

   started.” See id. This incident indicates that food waste segregation remains a challenge on the

   ship.

                        ii.   Prohibited Discharge of Ballast Water and Cover-Up Offer on the
                              Carnival Conquest

           In a November 2018 Flash Report, the Company reported that on November 24, 2018,

   the Carnival Conquest made a prohibited discharge of over 250 cubic meters of ballast water in

   violation of international law while sailing in Bahamian archipelagic waters. See Carnival

   Corporation & plc HESS Weekly Flash Report (Nov. 28, 2018). According to the preliminary

   findings described in the Flash Report, the Company attributed the incident to the failure of the

   watchkeeping engineer to attend a meeting with the Bridge, 25 “to follow the instructions

   provided by the Bridge during the briefing at the start of the watch as well as the Chief

   Engineer’s standing orders,” or “to inform the Bridge before conducting the discharge

   operation.” Carnival Corporation & plc HESS Weekly Flash Report (Nov. 28, 2018).

           While the prohibited discharge is significant in and of itself, the Flash Report goes on to

   state that a Bridge officer “offered to cover up the occurrence and change the time and location

   of the discharge to indicate it had occurred in a permitted area.” Id. Approximately ten minutes

   after making this offer, the Bridge officer reportedly called the engineer back to say that he was

   going to (properly) report the violation to the Staff Captain. Id. Any purported offer to falsify

   records to conceal an illegal discharge is highly concerning, both in light of the recordkeeping



   25
     The bridge of a ship is the room or platform from which the ship is commanded and where
   navigational equipment is housed. See https://www.marineinsight.com/marine-navigation/10-
   types-of-decks-every-seafarer-should-know/.


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   falsifications that were part of the underlying criminal conduct on the Caribbean Princess and

   because such an offer raises significant concerns about the presence of a blame culture within the

   Company.

          On December 19, 2018, the CAM received an oral briefing from the RAAS investigator

   assigned to investigate the prohibited ballast water discharge. See Call Notes. The investigator

   reported that the Company split the investigation into two parts: (1) RAAS was assigned to

   investigate the prohibited discharge; and (2) Carnival Cruise Line’s Compliance Department was

   assigned to investigate the alleged cover-up offer. Id. On March 21, 2019, the Company

   provided the CAM with the final investigation reports addressing both aspects of the

   investigation. See Investigation Report: Carnival Conquest Discharge of Ballast Water Within

   12 nm of the Bahamas Baseline (Feb. 21, 2019) (“Prohibited Discharge Investigation Report”);

   Investigation Report: Carnival Conquest Discharge of Ballast Water Within 12 nm of the

   Bahamas Baseline – Cover up allegation 24th November 2018 (Feb. 21, 2019) (“Cover-Up

   Allegation Investigation Report”).

          This event, coupled with repeated similar events, 26 suggests that a comprehensive

   investigation and root cause analysis would look beyond the actions of the involved ship

   personnel to consider whether systemic issues played a meaningful role in this incident,

   including issues related to: training, voyage planning, workload/insufficient manning, and

   culture. However, the Company’s investigation does not appear to do so.

          The investigation report addressing the prohibited ballast water discharge focuses on the

   actions of the involved ship personnel. It concludes that the watchkeeping engineer “improperly


   26
     See Prohibited Discharge Investigation Report at 9 (noting six other instances of
   “inappropriate bulk liquids (ballast/grey and black water) overboard discharges” on Carnival
   Cruise Line ships since January 2016).


                                                  24
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   discharged overboard the ballast of his own free will” and that “the Root Cause can be classified

   as Human Error, decision based.” Id. at 1 (emphasis added). The report also identifies several

   “contributive factors:” (1) failure of the outgoing and incoming watchkeeping engineers to

   sufficiently address environmental matters during the handover process (when the incoming

   watchkeeping engineer took over the shift); (2) “[s]ubstandard communication” between the

   Engine Control Room and the Bridge prior to the discharge; (3) “[i]neffective identification of

   environmental standards applicable to the relevant geographical area” by the watchkeeping

   engineer; and (4) the “[u]ncorroborated decision to assign watch leader duties” to the

   watchkeeping engineer, despite prior performance evaluations and statements by the Chief

   Engineer indicating that he might not be ready for these duties. Id. Notably, these findings

   appear to attribute blame for the incident to the watchkeeping engineer and other involved ship

   personnel. The report does not evaluate the role of broader, systemic issues that may have

   contributed to the incident, such as the Company’s possible failures to provide adequate training

   to engineers and Bridge officers; to provide ships with adequate voyage planning tools and

   support; to hire sufficient numbers of engineers to ensure that the workload of watchkeeping

   engineers is manageable; or to hire sufficiently experienced and trained engineers such that

   watchkeeping duties are assigned to individuals able to competently discharge their duties.

          Similarly, the investigation report addressing the cover-up offer focuses on the actions

   and motivations of the involved Bridge officer without exploring potential underlying systemic

   causes. It concludes that the Bridge officer “most likely offered to cover up the occurrence, due

   to fear of having made a mistake and the consequences of possibly losing his job,” and that

   “[w]ith all likelihood, fear factor was the root cause of the alleged cover up.” Cover-Up




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   Allegation Investigation Report at 1, 5. 27 The report does not, however, go deeper to evaluate

   the reasons why the Bridge officer had a “fear of having made a mistake” and was so driven by

   this “fear factor” that he considered falsifying records—a potentially criminal offense. 28 For

   instance, the report does not acknowledge or address that the true root cause of the incident

   might be the presence (or perception) of a blame culture within the Company.

                       iii.   Other Recurrent Incidents

          The CAM Team continues to identify and track numerous incidents on Covered Vessels

   falling under the general categories of recurrent incidents identified by the CAM. These include

   issues related to training, prohibited discharges, voyage planning, pollution prevention

   equipment (including Oily Water Separators, Oil Content Meters, and White Boxes),

   recordkeeping, manning/staffing, lifeboat and tender systems, and seals and locks. See CAM

   First Annual Report at 44-55; CAM September 2018 Quarterly Report at 13-14 and Appendix A;

   CAM December 2018 Quarterly Report at 13. The CAM plans to report more fully on its

   analysis of these incidents in the next Annual Report.

                  2.      Company Efforts to Prevent or Reduce Environmental Incidents

          As discussed in the prior Quarterly Report, the Company is engaged in various initiatives

   with the aim of preventing or reducing environmental incidents. 29 See CAM December 2018

   Quarterly Report at 12. Notable recent developments include:


   27
      The Bridge officer stated to the investigator “that fear of losing his job due to making a
   mistake was the only reason why he thought about the cover-up. However he then realized that
   it (covering up) is not the right thing to do and went ahead and promptly reported the incident to
   the Staff captain.” Id. at 4. The investigation found “no evident signs of attempts to falsify
   records.” Id.
   28
      See N. Krigslunc, Lawyer warns of ballast water falsification (May 22, 2018),
   https://shippingwatch.com/carriers/article10587366.ece.
   29
      The CAM Team has begun an effort to more effectively track the Company’s numerous
   initiatives related to environmental compliance and sustainability. To date, the CAM Team has


                                                   26
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          •   Completing Installation of New Oily Water Separators and White Boxes. The
              Company reports that it completed the installation of new Oily Water Separator and
              White Box equipment on ships ahead of its corporate deadline of January 31, 2019.
              See November 2018 USPO Supervision Report, Attachment 3, at 3. This equipment
              is designed to be “more effective at separating oil from water and [] more resistant to
              tampering.” February 2019 USPO Supervision Report, Attachment 3, at 10.

          •   Developing New Voyage Planning Software. The Company reports that it has
              selected a vendor for a contingent contract to develop new software “to automate and
              streamline the current environmental and voyage planning 30 process.” February 2019
              USPO Supervision Report, Attachment 3, at 9. The new software tool would, among
              other things, integrate information about environmental boundaries and restrictions
              into the electronic navigational charts used by ships. See Employee Interview Notes.
              Once an agreement is executed with the vendor, “it is expected that up to six months
              of software development time and 2-3 months of testing time will be needed before a
              decision to adopt and deploy the solution will be taken.” February 2019 USPO
              Supervision Report, Attachment 3, at 9. If successfully adopted, such software could
              “simplify and automate a significant portion of the planning process and reduce the
              risk of errors.” October 2018 USPO Supervision Report, Attachment 3, at 1; see also
              CAM December 2018 Quarterly Report at 10-11 (discussing voyage planning-related
              incidents on multiple ships).

          •   Developing a Corporate-Wide Incident and Near Miss Reporting System. The
              Company reports that its new corporate-wide incident and near miss reporting and
              case management system, called SeaEvent, is “nearing final stages of development.”
              February 2019 USPO Supervision Report, Attachment 3, at 9. Beginning in January
              2019, pilot testing was rolled out on several ships across multiple brands, with testing
              expected to be completed by March 2019. Id. Once pilot testing is complete, the
              Company plans to have a staggered roll out to all ships by the end of 2019. See id. If
              successfully implemented, SeaEvent could improve the consistency of the Company’s
              incident reporting, and enable better fleetwide information-sharing and
              tracking/trending of incident data.

          •   Completing a Study on Human Factors and Prohibited Discharges (Holland
              America Group Initiative). In September 2018, Holland America Group announced
              that it retained a third-party consultant “to develop a review program into the human

   identified over seventy different initiatives, including various policies, programs, surveys,
   Information Technology (“IT”) projects, studies, trainings, and other efforts.
   30
     A voyage plan identifies, among other things, the locations in the ocean where certain
   discharges or emissions are allowed or prohibited based on a ship’s location and the applicable
   restrictions (such as the special requirements that apply in U.S. marine sanctuary waters and in
   Emission Control Areas). The ship’s route must take into account “the marine environmental
   protection measures that apply, and avoid[], as far as possible, actions and activities which could
   cause damage to the environment.” Joint Glossary of Terms at 10.


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               factor aspects associated with the challenge of non-compliant waste stream
               discharges.” See Email from C. Donald, MTO Proposal – Human Factors Study
               (Sept. 22, 2018); CAM December 2018 Quarterly Report at 10. The study was
               completed in two phases, with a preliminary Phase 1 report issued in December 2018.
               See MTO Safety, Ship operations and environmental discharges: An action plan for
               continuous improvement and learning – report from phase 1, Report MTO-2018-349
               (Dec. 14, 2018), PCL_ECP00101877-937 (“HAG Human Factors Phase 1 Report”).
               That report found that “latent conditions contributing to non-compliant discharges
               were identified related to the [following] seven themes”: (1) regulations and
               procedures; (2) culture and attitudes; (3) workload balance; (4) competence, training,
               and qualifications; (5) communication, teamwork, and distribution of accountabilities;
               (6) work tasks and support systems; and (7) technical status of the ships. Id. at
               Executive Summary; see also id. at 45-46. During Phase 2, “the latent conditions
               identified in phase 1 will be validated and some selected issues will be investigated
               in-depth.” Id. at 9. The Company reports that the final Phase 2 report is expected to
               be finalized in April 2019.

          B.      Implementation of ECP Requirements

          The CAM Team continues to monitor the Company’s implementation of ECP

   requirements. No significant new ECP requirements came into effect during the third quarter of

   ECP Year Two.

          C.      Initiatives beyond Specified ECP Requirements

          As discussed in prior CAM Reports, the Company is developing and implementing a

   number of initiatives that go beyond the explicitly enumerated ECP requirements. See CAM

   First Annual Report at 4, 19-21; CAM September 2018 Quarterly Report at 16-17; CAM

   December 2018 Quarterly Report at 16-18. In addition to several of the initiatives discussed

   supra, Part III.A.2., notable recent developments include:

          •    Operation Oceans Alive. The Company continues to implement its environmental
               compliance and stewardship program, called Operation Oceans Alive. The Company
               describes the program as “the backbone for all Environmental compliance programs
               [which] is designed to promote the right behavior, attitude and a culture of
               compliance as it relates to environmental compliance and stewardship through getting
               to the hearts and minds of our employees.” February 2019 USPO Supervision
               Report, Attachment 3, at 5. The program includes “a ‘hearts and minds’




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               communication program consisting of compliance notices, newsletters, case studies,
               info-graphics and video messages from the CCM and the Company's leadership.” Id.

          •    Case Study Program. The Company has issued three new case studies since January
               2019 (for a total of seven case studies since the program began in January 2018). The
               Company describes the case studies as “a way of sharing lessons learned from
               incidents as part of our commitment to establish a culture of learning.” Id.; see also
               CAM December 2018 Quarterly Report at 16-17. The CCM reports that his team
               recently hired a new manager (likely to begin in mid/late April 2019) whose key
               responsibilities will include managing the case study program and issuing at least two
               case studies a month. See Employee Interview Notes.

          •    The “Environmental Hub” Online Chat Forum. The Company continues to report
               high levels of activity on the online chat forum for Environmental Officers, launched
               in November 2018. The “Environmental Hub” is described as a platform “to share
               environmental compliance and stewardship information as well as solicit[] feedback
               on training, procedures and best practices.” February 2019 USPO Supervision
               Report, Attachment 3, at 5. Feedback from Environmental Officers to the CAM
               Team on the Hub has generally been positive. See Employee Interview Notes.

          D.      Personnel

          The CAM Team continues to examine personnel issues related to compliance, including

   the Environmental Officer position, staffing and training of engineers, and hiring and training of

   ratings. See CAM First Annual Report at 72-73; CAM September 2018 Quarterly Report at 17-

   18; CAM December 2018 Quarterly Report at 18-23. Notably, several of the “latent conditions

   contributing to non-compliant discharges” identified in the HAG Human Factors Phase 1 Report

   related to systemic personnel issues, primarily:

          Workload balance

          Latent conditions identified were high workload in the [Engine Control Room] with
          frequent interruptions, sometimes even during red manning [i.e., periods of time, such as
          port arrivals/departures, emergencies, or other high-risk maneuvering, when access to the
          Engine Control Room and the Bridge is restricted to specific personnel with necessary
          vessel operational functions for safety and security reasons]. Refurbishment projects
          requiring supervision of many contractors will also add to workload. In addition, low
          staffing levels, being on or under TOP [“Table of Personnel,” which is a list of positions
          allocated to each ship], and working overtime, will lead to fatigue and sleepiness and thus
          becomes latent conditions. Also, in [the Engine Control Room], performance of multiple,
          concurrent tasks could be considered a major contributor to non-compliant discharges.



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          Competence, training and qualifications

          Latent conditions identified were that lately less experienced staff has been hired, since it
          is difficult to find staff with adequate experience and qualifications. Moreover, lack of
          ship specific technical training on systems used for discharge operations and fuel
          handling could be a latent condition as well as lack of ECDIS [Electronic Chart Display
          and Information System, which is a nautical navigation system] training. The ECP
          training scope is very broad and does not address the environmental aspects of different
          job positions.

   HAG Human Factors Phase 1 Report at 45-46.

          E.      Corporate Structure and CCM Authority

          The CAM Team continues to examine the Company’s efforts to respond to the Court’s

   Order of July 13, 2018, requiring the Company to provide “a plan as to how Carnival and its

   brands will address the challenge of corporate structure set forth in the [CAM First Annual

   Report], including prioritizing and standardizing environmental compliance across the company

   and establishing a Corporate Compliance Manager with both responsibility and authority over

   environmental policy and the Environmental Compliance Plan.” Dkt. No. 75 at 2; see also CAM

   First Annual Report at 72-73; CAM September 2018 Quarterly Report at 17-18; CAM December

   2018 Quarterly Report at 23-28. Providing the Court more information and visibility into these

   efforts is part of the strategic planning and budgeting review that the CAM Team is exploring in

   its visits to Company shoreside offices. See infra, Part III.I. The CAM plans to assess these

   issues and the Company’s related efforts in the next Annual Report.

          On the issue of CCM authority, the CAM made a finding in the first Annual Report that

   the Company has not given the CCM the “authority to ensure full implementation of [the] ECP,”

   as required under ECP Section III.A.2. See CAM First Annual Report at 4-5, 27-30. In a

   subsequent Quarterly Report, the CAM analyzed the Company’s procedure, issued in response to

   the Court’s Order of July 13, 2018, that purports to set out the “authority, roles, responsibilities,



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   and interrelationships” of the CCM. See HMP-1005, Corporate Compliance Manager

   Responsibilities and Authority (Sept. 4, 2018) (“CCM Procedure”); CAM December 2018

   Quarterly Report at 26-28. The CAM concluded that the CCM Procedure “limits the CCM’s

   authority in a number of ways,” id. at 17, “does not establish the CCM as a position with both

   responsibility and authority over environmental policy and the ECP,” id. at 18 (citations,

   quotations, and alterations omitted), and “does not provide for a sustainable CCM role that is

   fully integrated into the Company’s compliance efforts and structure, with actual authority over

   critical components of compliance.” Id. at 28.

           One example of the Company’s apparent lack of support for the CCM role involves the

   CCM’s proposed global Fleet Environmental Officer program that would support all of the

   Company’s brands. Fleet Environmental Officers would work at the direction of the CCM and

   would be assigned to provide training and mentorship to onboard Environmental Officers. See

   Employee Interview Notes. A similar program for Fleet Captains and Fleet Chief Engineers has

   existed for many years under the direction of the Chief Maritime Officer (“CMO”). Fleet

   Environmental Officers would also be available to fill any unexpected vacancies in the

   Environmental Officer position on a ship. See id. The ability to have a pool of Environmental

   Officers able to fill vacancies is directly related to the ability of the Company to comply with

   ECP Section IV.A.1. That section provides (emphasis added):

          An Environmental Officer (“EO”) shall be on board all Covered Vessels, unless an
          exception is granted under CARNIVAL’s internal policy governing an EO’s roles and
          responsibilities. In the event that a Covered Vessel must operate without an EO on board,
          the CCM and the cognizant OLCM shall be notified and the Master must assign the EO
          duties to the Chief Engineer, the Staff Captain, and/or another senior, non-watch standing
          officer. A corrective action plan must be developed in accordance with CARNIVAL’s
          internal EO policy, with the requirement that a qualified replacement EO will join
          the Covered Vessel within seven (7) calendar days.




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   To date, the Company has reported at least six instances in which a ship sailed without an

   Environmental Officer for more than seven days.

          In January 2018, the CCM proposed a Fleet Environmental Officer program to Company

   leadership. See Global Cross Brand Fleet EO Program Proposal. However, the CCM was

   unable to get the program included in the Fiscal Year 2019 budget. See Employee Interview

   Notes. The CCM is again attempting to obtain support for a Fleet Environmental Officer

   program to be included in the Fiscal Year 2020 budget. See id. Presumably, the CCM seeks to

   implement this program because he believes it is necessary to address both the ECP obligation to

   have a sufficient number of Environmental Officers to meet fleet needs, and to have a group of

   Fleet Environmental Officers to provide support, consistency, and oversight to the more than 200

   Environmental Officers across the Company. This is an example of a situation where the CCM

   appears to lack both the authority and the budget 31 to implement a program, which in this

   instance was designed to help “ensure full implementation of this ECP.” ECP § III.A.2. 32

          In addition, there are examples of ECP/environmental compliance-related programs being

   implemented without the CCM’s direct oversight or approval. 33 For instance, the undisclosed


   31
     At a July 3, 2018 meet-and-confer with representatives from the Government, Company,
   CAM, and TPA, the CCM acknowledged that the majority of his budget goes toward
   professional and legal fees (i.e., paying the CAM, TPA, and outside counsel) rather than toward
   compliance programs and other compliance efforts over which he has management authority.
   See Notes of July 3, 2018, Meet-and-Confer.
   32
      As noted in this Report, see e.g., supra, Part III.A.2 and Part III.C, there are many CCM
   initiatives that are being funded by the Company. What appears to separate the initiatives that
   are funded from this initiative is that the other initiatives typically involve training programs,
   signage, and other efforts that would not involve the kind of investment and personnel support
   that would be required for the Fleet Environmental Officer program.
   33
     As discussed in the prior Quarterly Report, the CCM Procedure dilutes the CCM’s ECP
   oversight and implementation authority among multiple other parties, including the CMO, the
   Carnival Corp. Vice President of Ethics and Compliance, and “all other Operating Line
   departments that have any responsibility concerning environmental compliance including, but


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   Environmental Ship Assistance Visit Program (“ESAVP”), implemented by Holland America

   Group following the December 4, 2017 Status Conference, was neither designed by, approved

   by, nor managed by the CCM. See infra, Part III.J. This is consistent with the CCM Procedure

   which, as currently written, does not appear to prevent people within individual operating lines

   or brands from implementing such a program without obtaining approval from the CCM or being

   required to operate under the CCM’s oversight.

          Further, there is a notable contrast between the Company’s reluctance to fund the CCM’s

   Fleet Environmental Officer program and its willingness to divert funds and resources to vessel

   visit programs (such as the ESAVP and the earlier pre-TPA audit program, see infra, Part III.J),

   designed to prepare vessels for TPA audits. The Company funded short-term, ECP-focused

   efforts to avoid TPA audit findings, but did not fund a Fleet Environmental Officer program

   sought by the CCM, which would have constituted a broad, long-term effort to support and

   sustain the Environmental Officer program.

          F.      Compliance Culture Assessment

          After extensive discussions with the Government and the Company, the CAM retained

   maritime culture expert Propel to develop and implement a culture survey designed to assess the

   strengths and the opportunities for improvement in the Company’s environmental compliance

   culture. See CAM Second Annual Work Plan at 10-11; CAM September 2018 Quarterly Report

   at 22-23; CAM December 2018 Quarterly Report at 28-30. Propel developed a survey

   instrument aimed at measuring corporate culture attributes that relate to environmental



   not limited to, Maritime Policy and Analysis (MPA), [Maritime Quality Assurance (MQA)],
   CSMART, [RAAS], Corporate Ship Building, Marine Technology, and Operating Line Marine,
   Technical, Environmental, Supply, and Human Resources teams.” CAM December 2018
   Quarterly Report at 27 (citations omitted).


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   compliance. Propel engaged with the Company throughout the survey development period, and

   the Company’s specialized knowledge and perspectives were considered and incorporated into

   the survey effort. For example, Propel consulted with the CCM’s Working Group, composed of

   over sixty CCM representatives from across the Company, including members of the CCM team,

   all OLCMs, and individuals from various functions including human resources, IT, training,

   communications, and compliance.

          Furthermore, beginning in September 2018, Propel piloted drafts of the survey instrument

   through Company focus groups and discussions with Company personnel, and through multiple

   ship visits across the Company’s various brands. This piloting sought to ensure that: (1) the

   survey questions, terms, and phrases would be readily understood by the Company’s

   employees; 34 (2) the survey length was appropriate; (3) the survey language translations were

   accurate; (4) the survey implementation plan was compatible with the Company’s IT platforms;

   and (5) the purpose of the survey was widely understood. Feedback from these efforts (including

   wording modifications suggested by Company personnel) was incorporated and the survey

   instrument was finalized in November 2018.

          The final survey instrument (for both shipboard and shoreside personnel) contained

   approximately sixty questions and was designed to take roughly fifteen to twenty minutes to

   complete. In addition, each survey contained a “free text” response section to enable

   respondents to share their ideas, concerns, or suggestions about how to improve the

   environmental compliance culture within the Company. To accommodate non-native English

   speakers who might prefer to take the survey in their native language, experts translated the


   34
     There were two versions of the instrument: one for shoreside personnel and one for shipboard
   personnel. The questions differed slightly to account for the different roles and terminology
   applicable to the two groups.


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   survey from English into eight additional languages: Bahasa, German, Italian, Mandarin,

   Portuguese, Russian, Spanish, and Tagalog. Propel selected these languages in consultation with

   the Company and after reviewing crew demographic information.

          To encourage open and honest feedback, the survey instrument and associated materials

   made clear that all survey data would be kept confidential by Propel. Specifically, the survey

   instrument and related communications informed respondents that Propel would not share

   individual responses (meaning the underlying data) with the Company, that only Propel would

   have access to participants’ responses to the survey questions, and that Propel did not have

   access to personal demographic information that would allow them to link individuals to their

   survey responses. Respondents were further assured that no one in the Company (or the CAM)

   would be provided with information as to how any individual responded or information

   regarding a participant’s age, nationality, position, or department.

          The survey was administered from December 5, 2018, through January 17, 2019. 35 As of

   that date, Propel received 67,871 responses, which is a participation rate of approximately

   75%. 36 Beginning in February 2019, Propel began conducting focus group sessions on ships and

   at shoreside locations to clarify and contextualize the preliminary observed survey trends and

   responses. See supra, n. 11. The target date for receipt of Propel’s report is May 2019. The

   results from this survey will serve to assess the current state of the Company’s environmental

   compliance culture. Propel will conduct a second survey before the completion of the five-year




   35
     Two newly launched ships began the survey effort in January and February 2019, respectively.
   Responses from these will be included in the final survey analysis.
   36
     Included in this figure is a total of 3,416 “incomplete” responses, where parts of the
   demographic portions of the survey were missing from the response but the substantive portion
   of the survey instrument was completed.


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   ECP period that will assess the Company’s improvement in the area of environmental

   compliance culture.

          G.      Investigations

          As discussed in prior CAM Reports, the CAM concluded, and the Company agreed, that

   the Company’s internal investigations program is inadequate. See CAM First Annual Report at 5

   (finding that the “Company’s internal investigations are critically flawed. There is no consistent,

   reliable means to investigate incidents or near misses and identify root causes that can lead to

   meaningful corrective actions”); id. at 4 (noting that the “Company engaged a third party, DNV

   GL, to assess the Company’s investigation process, identify areas and options for improvement,

   and identify the stakeholders at Carnival Corp. responsible for performing incident investigations

   and implementing action plans”); CAM September 2018 Quarterly Report at 23-25; CAM

   December 2018 Quarterly Report at 30-31. Starting in ECP Year One, the Company began

   taking various steps toward improving its investigations program, including:

          •    Engaging a third party, DNV-GL, to assess its internal incident investigation process.
               In May 2018, DNV-GL delivered a report with four overall recommendations and
               twenty-eight specific areas for improvement to assist the Company in improving the
               quality and efficiency of investigations, such that true root cause analyses can be
               obtained. See DNV-GL, Towards improving Carnival’s incident investigation
               process, Report No. 2018-0209, Rev. Final (May 8, 2018), PCL_ECP00051998-
               52050;

          •    Engaging DNV-GL to develop an Investigator Accreditation program, and to assist
               the Company in revising its corporate policies and procedures regarding incident
               investigations to incorporate DNV-GL’s recommendations. See CAM September
               2018 Quarterly Report at 24;

          •    On September 5, 2018, submitting to the CAM a letter with a “proposed plan to
               enhance the internal incident investigation program employed within the Company
               and its respective brands.” Letter from C. Donald, Company’s Proposed Change to
               Maritime Investigations & Modification of the ECP (Sept. 5, 2018), at 1. Among
               other things, this plan proposes to create a new Global HESS Investigations
               Department that would be separate from RAAS and would take over from RAAS
               responsibility for all significant HESS incident investigations. See CAM December


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              2018 Quarterly Report at 30-31. As discussed above, supra, Part I.C.2.ii, this re-
              structuring would require modifications to ECP Sections III.B.1(b) and (c)—which
              currently provide for RAAS (rather than the new Global HESS Investigations
              Department) to investigate Covered Vessel casualties and oil pollution incidents and
              Hotline reports. See id.; 37

          •   On September 21, 2018, submitting to the Interested Parties, CAM, and TPA a
              “proposed timeline for establishing and implementing the recommendations made by
              third party consultants DNV-GL for improving and standardizing Defendant’s
              internal investigation processes across all brands.” Email from B. Herrmann,
              Investigations Timeline – U.S. v. Princess Cruise Lines, Ltd. 1:16-cr-20897 (S.D.
              Fla.) (Sept. 21, 2018); and

          •   On September 25, 2018, providing the CAM with copies of draft “procedures and
              policies regarding the updated investigations program” prepared by DNV-GL. Email
              from K. Jamieson, Carnival - Investigation Policies and Procedures (Sept. 25, 2018).

          These efforts appear to have stalled during the third quarter of ECP Year Two.

   According to the Company, the implementation of its September 5, 2018, proposed plan was put

   on hold while it searched for someone to lead the new investigations department. See CAM

   December 2018 Quarterly Report at n.39. In February 2019, the Company hired a Vice

   President of Global HESS Investigations, who began work on March 25, 2019. See Employee

   Interview Notes; see also February 2019 USPO Supervision Report, Attachment 3, at 3. Now

   that this position has been filled, the CAM awaits further action and updates from the Company

   regarding its efforts to address the problems with the investigations function. According to the

   Company, a “new project plan and timeline to finalize new procedures and processes for




   37
      On September 22, 2018, the CAM responded to the Company’s September 5 letter, expressing
   support for the proposed ECP modifications, noting that “[a]s we have discussed, and to be clear,
   if the Company has determined that the best approach to implementing these efforts is a
   restructure of RAAS and the creation of a new Investigations unit, I agree that it would make
   sense to modify the ECP so that it reflects the existence of an investigation unit residing outside
   of RAAS.” Email from S. Solow, CCM to CAM Letter Detailing Investigation Overhaul (Sept.
   22, 2018).


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   investigations is being developed.” Id. The CAM will assess the Company’s efforts in this area

   in the next Annual Report.

          H.      Training

          As part of its ongoing examination of training, the CAM Team continues to monitor

   relevant training-related initiatives. See CAM First Annual Report at 21-23, 69-70; CAM

   September 2018 Quarterly Report at 25-27; CAM December 2018 Quarterly Report at 31-36.

                  1.      Updates on Company Initiatives

          The Company continues to invest resources in environmental and ECP-related training.

   See id. Notable recent updates include:

          •    CSMART Training Courses. As of February 2019, the Company has conducted
               thirty-one “Environmental Officer 1” training courses and twenty “Environment
               Officer 2” training courses at the CSMART training center in Almere, The
               Netherlands. February 2019 USPO Supervision Report, Attachment 3, at 6.

          •    Operational Excellence Training Program (formerly Compliance to
               Commitment (“C2C”)). In January 2019, the Company launched its redesigned
               C2C environmental training program, required for all engineers and deck officers
               attending CSMART, under the new title of Operational Excellence. Id. at 6-7. The
               Company plans to continue the program, which began in October 2017, at CSMART
               through 2019 and beyond. Id. at 7. To assist in the redesign of the course, the
               Company retained an expert training team from the University of West Florida. Id. at
               6-7. According to the Company, the redesigned course was “informed by feedback
               from [C2C] Instructors, Participants and visiting staff,” as well as by the CAM First
               Annual Report, which found that the Company appeared to have a blame culture
               “with a focus on identifying errors and disciplining individuals rather than also
               evaluating systemic issues that may need to be addressed.” J. Ritchie, Operational
               Excellence: The Evolution of C2C (Jan. 14, 2019), at 3, PCL_ECP00088071-76.
               Other feedback from C2C participants included that the program “was lecture-based
               and addressed the symptoms of past violations rather than their root causes;”
               “provided little useful feedback from Participants on how such violations could be
               avoided in the future;” and “was not a pleasant experience for either Participants or
               Instructors.” Id. In response to this feedback, the new course is intended:

                       [T]o present the Corporation to participants as an institution that was ready to
                       move past blame culture and autocracy towards a co-operative approach to
                       change, with the focus on both what participants thought and the overall
                       culture within ships, brands and the corporation as a whole . . . In order to



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                      effect genuine, lasting change, the reasons for people choosing to actively
                      break environmental laws, or knowingly comply with those so doing, needed
                      to be examined and countered.

              Id. The CAM Team plans to attend a session of the redesigned Operational
              Excellence course on April 27, 2019.

          •   “EO3” Training. The Company has retained the University of West Florida to
              develop the third-year Environmental Officer training course given at CSMART,
              known as “EO3” training. See February 2019 USPO Supervision Report, Attachment
              3, at 7. 38 This course, which is to be titled “Environmental Excellence,” will be
              delivered as a five-day program to be held four times a year as part of hybrid
              “EO3/Environmental Commitment” conferences. See id. The program will be
              designed around an interactive, challenge-based model, rather than the traditional
              lecture-based model on which prior Environmental Officer training courses have been
              based. See id. Environmental Officers attending these trainings will also attend the
              same Operational Excellence course that the deck and technical personnel attend. Id.
              The first of these conferences is planned for the week of August 12, 2019. Id.

          •   Environmental Induction Training Materials. During January and February 2019,
              the Company rolled out the new ECP training video and presentation slides for the
              onboard environmental induction training that Environmental Officers give to newly
              joined crew members. See id.

          •   Tool Box Talks. In January 2019, the Company began implementing a series of Tool
              Box Talks for the shipboard engineering departments. See id.; December 2018 USPO
              Supervision Report, Attachment 3, at 1-2. These talks are supervisor-led sessions that
              include training on various environmental and technical requirements, including the
              ECS and bilge water and portable pump procedures. The sessions are mandatory for
              all engineering officers and ratings. See CCL Investigation Report Template:
              Carnival Ecstasy (Dec. 15, 2018), at 5, PCL_ECP00088393-8433. The Company
              plans to implement similar sessions in the deck and hotel departments. See Employee
              Interview Notes.

                 2.      Other Updates

          As discussed in prior Quarterly Reports, the CAM Team attended the Company’s first

   “Environmental Commitment Conference” in Almere, The Netherlands from September 11-13,

   2018, which “brought together Environmental Officers from across the fleet with shoreside



   38
     New hire Environmental Officers will still be required to attend the original “EO1” and “EO2”
   courses as prerequisites to the “EO3” course. Id.


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   environmental compliance, environmental operations, technical, and training personnel.” August

   2018 USPO Supervision Report, Attachment 3, at 4; CAM September 2018 Quarterly Report at

   17-18; CAM December 2018 Quarterly Report at 19-21. The Company reports that it plans to

   host an additional “Environmental Commitment Conference” in Almere from April 24-26, 2019,

   which the CAM Team plans to attend (in advance of attending an Operational Excellence course

   to be held on April 27, 2019). See PCL_ECP00087071. This is expected to be the last of the

   “Environmental Commitment Conferences,” as it is planned that they will be replaced with the

   hybrid “EO3/Environmental Commitment” conferences discussed above. See Employee

   Interview Notes. The Company is planning to convene the first two hybrid training conferences

   in August and November 2019.

          I.      Strategic Planning and Resources for Operations and Compliance

          Pursuant to the Court’s Order of July 13, 2018, the CAM Team—accompanied by

   AlixPartners, a forensic accounting and investigations firm with particular expertise in corporate

   compliance and compliance governance—continues to meet with various representatives from

   Carnival Corp. and its operating lines to seek answers to the Court’s inquiry as to “how the

   Company’s long-term strategic plans are formulated and, specifically . . . how environmental

   compliance has been made part of those plans and how protection of the environment is being

   incorporated as a priority into the Company’s strategic plans and culture in a long-term,

   sustainable manner.” Dkt. No. 75 at 3.

          As discussed in the prior Quarterly Report, the CAM Team met with Carnival Corp.’s

   CMO, Chief Financial Officer, and Controller for an overview of the annual planning processes

   before visiting Carnival UK’s shoreside office in Southampton, UK in October 2018 and




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   Carnival Cruise Line’s shoreside office in Miami, Florida in November 2018. See CAM

   December 2018 Quarterly Report at 36-38.

          Since the last Quarterly Report, the CAM Team visited Carnival Maritime Group’s

   shoreside offices in Genoa, Italy, Rostock, Germany, and Hamburg, Germany from January 21-

   25, 2019, and Holland America Group’s shoreside offices in Seattle, Washington (with

   employees from the Santa Clarita, California office participating via video and phone

   conference) from February 26-March 1, 2019. During these visits, the CAM Team interviewed

   the Group CEOs, brand presidents, OLCMs, senior maritime and finance management personnel,

   and other maritime, finance, and accounting personnel from each operating line. Discussions

   included how these operating lines develop and revise their respective New Build Plan, Strategic

   Plan, Capital Plan, and Operating Plan from year to year and how compliance is considered

   during these various planning processes.

          The CAM will report on findings as to the Company’s strategic planning processes and

   environmental compliance integration in the next Annual Report.

          J.      Company Vessel Visit Programs

          As discussed in prior CAM reports, two undisclosed Company vessel visit programs were

   brought to the Court’s attention during ECP Year One. See CAM First Annual Report at 73-74;

   CAM September 2018 Quarterly Report at 29-30.

                  1.     Pre-December 2017 Program

          The first effort, which involved conducting vessel visits to ensure that ships would be

   prepared for TPA audits, was implemented during the first half of ECP Year One, from

   approximately June 2017 until December 2017. See id. at 29. This pre-TPA audit program was

   not voluntarily disclosed by the Company to the Court, Office of Probation, Interested Parties,




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   TPA, or CAM. During the December 4, 2017 Status Conference, the Company described this

   program as “one or two people who have gone to try to get the ship in a position where they

   prepared or are ready for the audit.” Status Conf. Tr. at 69 (Dec. 4, 2017). 39 The Company

   committed to the Court that, with respect to the pre-audit ship visits, “we will do it no more.”

   Status Conf. Tr. at 23-24 (Dec. 4, 2017); see also Email from B. Burke, preparatory ship visits

   (Dec. 5, 2017), PCL_DOJ_ESAVP_00029883 (email from CMO to senior management across

   the Company, including environmental compliance personnel, stating that “[i]n court yesterday,

   we agreed to no more preparatory ship visits that are ECP specific. This means [operating lines]

   cannot send people to any ship with the purpose of preparing the ship for a TPA or CAM

   audit.”).

                  2.      Post-December 2017 Programs

           Shortly after the December 4, 2017 Status Conference, and despite the CMO’s

   commitment to the Court to stop preparing ships for TPA audits, the CMO almost immediately

   began developing plans for a new vessel visit program without informing the Court, Office of

   Probation, Interested Parties, TPA, or CAM. See CAM September 2018 Quarterly Report at 29.

           In the week following the Status Conference, the CMO proposed a new vessel visit

   program to the Carnival Corp. Leadership Team (i.e., the Carnival Corp. CEO, Carnival Corp.

   Chief Financial Officer, and the CEOs of each operating group). This initial proposal involved a

   cross-brand program of ship visits “[t]o allow us to improve on shipboard HESS performance


   39
     Records produced by the Company regarding the program, however, show that the Company’s
   effort was more extensive than could be inferred from this statement. The CAM Team’s review
   of Company documents suggests that the Company deployed Fleet Chief Engineers and other
   shoreside employees (and at least one outside consultant) in advance of TPA audits to
   systematically review the ship’s readiness for a TPA audit. In at least one instance, a ship was
   visited three times in advance of a TPA audit. See Email from C. Donald, RE: Inspiration –
   ECP Audit Day 4 Summary and draft report, PCL_DOJ_ESAVP_00034897.


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   while still giving ship and shore management an accurate picture of compliance and

   performance.” Email from B. Burke, HESS Riding Teams (Dec. 9, 2017),

   PCL_DOJ_ESAVP_00054971. In an e-mail sharing the proposal more broadly across the

   Company, the CMO wrote that: “All identified corrective actions will be documented and

   provided to management, internal audit and external audit.” Email from B. Burke, HESS Riding

   Teams (Dec. 10, 2017), PCL_DOJ_ESAVP_00028608. The CAM understands that the

   reference to “external audit” included the CAM and the TPA.

           After leadership of some operating lines resisted certain aspects of the CMO’s proposed

   program (including cross-brand visits), on January 15, 2018, the CMO solicited proposals from

   each operating line for vessel visit programs that would focus on providing HESS support to the

   ships. See Presentation to U.S. DOJ, CAM, TPA by Dechert LLP, Pre-Audit Visits and

   Environmental Ship Assist Visit Program (Feb. 19, 2019), at 72-75, 89, 92-93 (“February 2019

   Vessel Visit Program Presentation”).

           Holland America Group’s response was to develop and implement the Environmental

   Ship Assistance Visit Program or “ESAVP.” In connection with this program, five ship visits

   were conducted between February 12 and March 13, 2018. See id. at 79. After the CAM was

   informed confidentially that the Company was again doing visits to prepare for TPA audits, the

   CAM asked the Company about the existence of these visits on March 12, 2018. See id. at 123.

   The Company has represented that neither the CMO nor the CCM authorized or was informed of

   these vessel preparation visits, and that the CMO believed that Holland America Group was still

   developing its program proposal and would present it to him before moving forward with any

   visits. See id. at 124.




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          At least one other operating line, Carnival Cruise Line, also began developing its own

   vessel visit program following the December 2017 Status Conference. See id. at 125. One pilot

   ship visit for the Carnival Cruise Line program was conducted from March 5-10, 2018, and the

   Company has similarly asserted that this visit was conducted without CMO or CCM approval.

   See id. at 131. The Company has represented that the CMO expected that no visits would occur

   until Carnival Cruise Line addressed feedback he had provided on the program. See id. As

   noted above, neither the ESAVP nor the Carnival Cruise Line post-December 2017 vessel visit

   programs were disclosed by the Company to the Court, Office of Probation, Interested Parties,

   TPA, or CAM. 40

                 3.      Court and Government Concerns

          Both the Court and the Government have expressed concerns about the undisclosed

   vessel visit programs, including the lack of transparency surrounding their development and

   implementation. At the April 3, 2018 Status Conference, the Court raised concerns “that we are

   not all on the same page as the importance of transparency and collective learning from our

   mistakes. I’m concerned that I am seeing a blame game, a problem coverup we need to protect

   because we are concerned that we’ll be docked.” Status Conf. Tr. at 10 (Apr. 3, 2018). 41 The

   Government has raised similar concerns, including that the vessel visit programs present “a



   40
     In addition to the Holland America Group and Carnival Cruise Line programs, Carnival UK
   and Carnival Maritime Group began developing a joint vessel visit program following the
   December 2017 Status Conference that was more in line with the CMO’s initial cross-brand
   proposal. See id. at 133. Three vessel visits had been scheduled (all on Non-Covered Vessels)
   before the program was suspended in March 2018. See id. at 135-36. This program also was not
   disclosed by the Company to the Court, Office of Probation, Interested Parties, TPA, or CAM.
   41
     At the April 2018 Status Conference, the Court also requested that the CAM be involved in
   Company meetings that were planned for the following week with the CMO, CCM, and
   Executive Vice Presidents to “talk about how we move on from here to improve.” Id. at 22. The
   CAM was not invited to take part in any such meetings if they took place.


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   problem because of the lack of transparency. A fundamental part of auditing is that when

   auditors go to a ship, they know the history. That didn’t happen here. The auditors were

   deprived of that information, it was swept under the rug.” Status Conf. Tr. at 10 (July 11,

   2018). 42

           Another concern expressed by both the Court and the Government was the CCM’s

   apparent lack of direct authority and oversight over the ESAVP program. At the April 2018

   Status Conference, the Court noted its concern that the CCM “is supposed to be the chief

   compliance officer . . . and if he's not involved in this plan as to how are we going to make things

   better, you’re sort of . . . pulling the rug out from underneath yourself.” Status Conf. Tr. at 11

   (Apr. 3, 2018). In its March 26, 2018 document request, the Government observed that the

   CCM’s lack of oversight over the ESAVP “raises a host of questions given the role of the CCM

   as established by the ECP.” DOJ Vessel Visit Program Document Request Letter at 2.

           The Court and the Government have also articulated a shared concern that the pre-TPA

   audit program “tainted” the audits performed in its wake, and thereby diminished the Court’s

   ability to rely upon ECP Year One TPA audits to provide an accurate benchmark of the

   compliance challenges faced by the ships. See Status Conf. Tr. at 29 (Apr. 3, 2018) (“we [the

   Government] remain concerned that the first year of audits were compromised”); see also Status

   Conf. Tr. at 11 (July 11, 2018) (Court and Government agreeing that “[t]hey’re all tainted,”

   referring to first-year TPA audits); id. at 39 (noting “concerns as to whether or not the audit

   findings that we have are really the true picture”). As a result of these concerns, following the


   42
      As noted in prior CAM reports and discussed further below, infra, Part III.J.4, the Government
   issued a document request to the Company on March 26, 2018, to understand the nature of both
   the pre- and post-December 2017 vessel visit programs. See Letter from R. Udell, Re: United
   States v. Princess (Case No. 1:16-cr-20897) (Mar. 26, 2018) (“DOJ Vessel Visit Program
   Document Request Letter”).


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   July 11, 2018 Status Conference, the Court issued an order requiring that the CAM and TPA

   perform additional vessel and shoreside facility visits and audits during ECP Year Two, and that

   all future vessel audits and visits be unannounced. See Dkt. No. 75.

                  4.     Company Inquiry and Presentation

          In response to the Court’s and Government’s concerns and the Government’s March 26,

   2018, request for documents, the Company launched an inquiry with the assistance of outside

   counsel. According to the Company, it interviewed 39 personnel to identify relevant custodians;

   conducted substantive interviews with 29 employees; collected documents and information from

   101 custodians (former and current employees, as well as contractors); and produced on a rolling

   basis over 17,000 documents to the Interested Parties in response to the Government’s document

   requests. Notably, outside counsel informed the Department of Justice, the Office of Probation,

   the U.S. Coast Guard, the TPA and the CAM that it conducted no interviews with shipboard

   employees, such as Captains, Staff Captains, Environmental Officers, Chief Engineers, or Staff

   Chief Engineers. On September 5, 2018, the Company completed its initial production of

   materials. See Dkt. No. 75; see also Letter from D. Kelley, Environmental Ship Assist Visit

   Program – Seventh & Eighth Production of Documents (Sept. 5, 2018). On September 10, 2018,

   the Company provided a privilege log. 43 The CAM Team conducted a review of these

   documents.



   43
     The Company initially withheld 1,278 records under a claim of privilege and produced 289
   redacted records. Following a review of the Company’s privilege log, the Government
   challenged certain entries—specifically, those records that did not appear to include counsel or
   personnel that routinely act in their capacity as an attorney for the Company. See Email from R.
   Udell, Ship Visit Programs & Privilege Log (Jan. 2, 2019). In response, the Company has
   produced some documents that it had either previously withheld as privileged or produced in
   redacted form. See Email from B. Herrmann, Production of Documents – U.S. v. Princess
   Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.) (Feb. 24, 2019).


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          On February 19, 2019, the Company’s outside counsel gave a presentation of the

   Company’s view of the vessel visit programs to the Interested Parties, CAM, and TPA. The

   Company argued that the initial pre-TPA audit program was merely an evolution of its pre-

   existing Fleet Chief Engineer visit program, which the Company says was designed to assist

   Covered Vessels with implementing HESS requirements, including environmental and ECP

   requirements. Similarly, the Company argued that the ESAVP was designed to support the ships

   generally with regard to environmental compliance, including ECP requirements. The Company

   also claimed that the ESAVP was distinguishable from the pre-TPA audit program in part

   because the ESAVP visits were not to be scheduled within sixty days before a TPA audit. The

   Company maintained that the purpose of both the pre-TPA audit and ESAVP programs was

   educational and that the programs were designed to discover and understand the kind of support

   that the ships needed. See, e.g., February 2019 Vessel Visit Program Presentation at 37, 40, 80.

                  5.     CAM Team Review

          Based on the CAM Team’s review of the documents produced in response to the

   Government’s document requests, the presentation provided by the Company’s outside counsel,

   and confidential communications with shipboard employees, the purpose of these vessel visit

   programs appears to have been to avoid negative TPA audit findings on ECP-specific issues.

          First, the contemporaneous documents produced to the Department of Justice support a

   view that the primary goal of the vessel visits—both before and after December 2017—was to

   minimize TPA audit findings. Examples include:

          •   A document titled “Proactive Preparation for TPA Visit (Conducted During Day
              Visit)” was used during the Fleet Chief Engineer visits conducted between June and
              September 2017.

          •   In connection with the Holland America Group ESAVP conducted in 2018, the
              shoreside employees visiting the ships utilized an Excel workbook with three tabs as



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             follows: the first tab was titled “Pre-Audit Checklist.” It contained a worksheet that
             referenced ECP sections and related company procedures. The second tab contained
             a list of Company procedures referenced in the first tab and the corresponding ECP
             requirement(s). The third tab contained a list of prior TPA audit findings. See, e.g.,
             PCL_DOJ_ESAVP_00000238.

         •   Messages from Fleet Chief Engineers (both before and after the December 2017
             Status Conference) to the ships notifying them of upcoming visits specifically
             referenced the TPA audits, and some stressed the desirability of avoiding TPA audit
             findings. See, e.g., Email from Fleet Chief to Caribbean Princess Senior Officers
             (June 18, 2017), PCL_DOJ_ESAVP_00002416 (“As you should be aware, I will be
             joining you . . . in order to assess the status of your implementation of recent HESS-
             MS ENV procedural changes, to discuss the planned TPA visits and to provide
             guidance and obtain your feed back. This will assist you in preparation for any
             forthcoming audits.”); see also Email from Holland America Group Fleet Chief
             Engineer to ms Rotterdam Senior Officers (Mar. 2, 2018),
             PCL_DOJ_ESAVP_00000308 (“Additionally, the ECP requires our ships and
             personnel, including shoreside, to use environmental Best Practice policies and
             procedures that are based on experience and research, to meet or exceed marine
             environmental protection requirements and to prevent audit findings. Vessel visits
             will allow for the exchange of information to ensure compliance with the ECP. We
             really want to avoid repeat ABSG TPA findings in 2018.”).

         •   Shoreside staff described the visits as designed to prepare for audits and to avoid
             audit findings. See, e.g., E-mail from CMG OLCM to AIDA Business Trip Service
             Center (August 8, 2017) (“[Name redacted] urgently needs to visit AIDAluna in
             preparation of the audits that will be carried out by the US authorities for the
             Environmental Compliance Plan in September. It would be really important to go
             onboard on August 12 for one week in order to have time to manage issues before the
             audits and avoid findings.”).

         •   In October 2017, the CMO wrote to Carnival Cruise Line’s Senior Vice President for
             Marine Operations: “After our court hearing this week, we cannot afford audits like
             this that show lack of attention to detail by the ship and management. . . I think it is
             time for CCL to enhance your proactive work to avoid this type of poor audit.” E-
             mail from CMO to CCL SVP (Oct. 20, 2017), PCL_DOJ_ESAVP_00059931. The
             CMO also forwarded this e-mail to Carnival Cruise Line’s President, who replied:
             “This is very disappointing especially since I understand we sent a shoreside manager
             to the ship to prepare them for the audit. I have a difficult time understanding how
             we can have findings related to the issues highlighted below.”

         •   The February 19, 2019, presentation materials prepared by the Company’s counsel
             acknowledged that: “Once the TPA’s audits commenced, Day Visits had a clearer
             pre-audit verification purpose.” February 2019 Vessel Visit Program Presentation at
             34.




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          •   After the December 2017 Court hearing during which the Company committed to
              cease its pre-TPA audits, Carnival UK’s OLCM wrote to the CMO directly to
              advocate for the discontinuation of audit preparation for all audits: “Forgive me for
              writing directly, but I wanted to highlight a significant ‘compliance to commitment’
              opportunity here. The court has called us out on an activity which has long hindered
              our company which I saw first hand a[t] RAAS and indeed took part in which at
              [Holland America Line] years ago. Audit preparation skews the reality, confuses
              ships and gives management false confidence in audit results. The opportunity here is
              to send the same directive for opco’s [operating companies] not to carry out Audi[t]
              preparations activities for any audits. You wouldn’t have to be too prescriptive as
              companies know the difference between routing, healthy fleet support an[d] QA
              [quality assurance] and audit prep. . . . If we don’t get to see the real issues
              highlighted, we’ll never know what needs fixed. . .” E-mail from CUK OLCM to
              CMO (Dec. 12, 2017), PCL_DOJ_ESAVP_00008567.

          •   As Holland America Group was designing the ESAVP, a draft concept document
              explained that: “Additionally, the ECP requires our ships and personnel, including
              shoreside, to use environmental Best Practice policies and procedures that are based
              on experience and research, to meet or exceed marine environmental protection
              requirements and to prevent audit findings.” Vessel Environmental and Safety Visits
              (Jan. 3, 2018), PCL_DOJ_ESAVP_00000030. This exact language was used by at
              least one Fleet Chief Engineer e-mailing a ship before his visits. See
              PCL_DOJ_ESAVP_00000308.

          •   In reviewing slides on Carnival Cruise Line’s 2018 proposed program, it was
              observed that “the difference between another audit and a true quality assurance
              program doesn’t come through the slide deck that clearly to me, lot of mention of
              avoiding audit findings and repeat findings as opposed to avoiding incidents and
              ensuring compliance.” Email from C. Donald to B. Burke re: CCL QA teams.pptx
              (Feb. 15, 2018), PCL_DOJ_ESAVP_00011884.

          Second, there are references in contemporaneous documents that suggest that the ESAVP

   was an extension of the previously discontinued pre-TPA audit program. For example, a

   Holland America Group Fleet Technical Director wrote to his counterpart at Carnival Australia:

   “DOJ took a dim view of this and we had to stop this pre-audit activity. Yesterday in a

   discussion between Seattle & Santa Clarita [the two locations of Holland America Group’s

   shoreside offices], we agreed to continue these support visits, well in advance of the audit, under

   the name of Environmental Excellence Program Visits.” Email from Holland America Group

   Fleet Technical Director to Carnival Australia Director, Technical Operations (Jan. 12, 2018),


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   PCL_DOJ_ESAVP_00000191 (emphasis added). Similarly, a Fleet Chief Engineer e-mailed a

   ship with information about his upcoming ESAVP visit, explaining that: “The Environmental

   Ship Assistant Visit program was recently developed when the Department of Justice stopped us

   from doing Pre-TPA audit ship visits. The ship assistant visits will not coincide with the ABSG

   TPAudit [sic]. The purpose of the Ship Assistant visit is to meet and work with officers and

   crewmembers to provide environmental training, record checks, and ECP familiarization. . . .

   Vessel visits will allow for the exchange of information to ensure compliance with the ECP. We

   really want to avoid repeat ABSG TPA findings in 2018.” Email from Holland America Group

   Fleet Chief Engineer to ms Rotterdam Senior Officers (Mar. 2, 2018),

   PCL_DOJ_ESAVP_00000308 (emphasis added).

          Third, the Company’s position that the vessel visits were designed to support the ships is

   not supported by any documentation produced to date that would demonstrate corresponding

   shoreside efforts to provide resources or support to ships based on information learned during

   these visits. Indeed, the CAM specifically asked the Company to “identify whether and to what

   extent there are contemporaneous records that have not otherwise been produced in which:

   findings and observations from the vessel visits were consolidated and shared; corrective actions

   found on vessels were consolidated and tracked; or information learned from the vessel visits

   was analyzed or trended.” Letter from S. Solow, Re: Court Appointed Monitor Communication

   Vessel Visit Program Documents and Requests (Jan. 25, 2019), at 2. The Company has to date

   not identified any such documents. The CAM further requested: “[A]lthough the government’s

   request focused on the vessel visit programs, we are interested to know whether there were also

   similar parallel programs implemented to have teams assess shore-side support for the ships. If

   contemporaneous documents regarding such efforts were generated, please either provide the




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   Bates-numbers or privilege log IDs for the relevant records, provide additional records, or

   confirm that no such additional records exist.” Id. Again, to date no such documents have been

   identified or provided.

          Overall, the CAM Team’s review of the vessel visit document production yielded the

   following observations: the ships had little to no input into the programs; the shoreside teams

   that visited the ships left no documentation on corrective actions from the visits; the programs

   were not developed or implemented by or with the approval or direct oversight of the CCM, see

   supra, Part III.E (CCM appears to lack authority over the ECP and environmental compliance);

   and the programs generally appeared designed to address ECP and environmental issues as they

   arose on particular ships, rather than to uncover systemic or ongoing compliance challenges

   affecting ships on a fleetwide basis, including issues that might stem from inadequate resources

   or shoreside support. Based on a review of the available information, it is fair to conclude that

   the vessel visit programs at issue were, to a large extent, focused on preparing vessels for TPA

   audits, including those that could occur at some future date. Rather than supporting the ships,

   the purpose of the vessel visits appears to primarily have been an effort to allow the Company’s

   management to avoid the potential pressure to expend additional resources in support of the ships

   if the TPA audits continued to find recurring compliance issues.

                  6.         CAM Observations

          At their core, these visits are illuminating. They indicate that there is a substantial failure

   on the part of the highest levels of Company management to understand the value of learning

   from mistakes, and a failure to understand the obligation during a period of probation to provide

   the Court with an unvarnished view of the challenges faced by the ships and the Company.

   These vessel visit programs were developed and implemented without notice to the Court, Office




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   of Probation, Interested Parties, TPA, or CAM. The post-December 2017 visits came to light

   because the continued vessel visit program was understood by the Company’s own employees to

   be contrary to the CMO’s representation made to the Court. If not for these employees, as in the

   case of the Caribbean Princess, it is unknown how long this conduct would have continued in

   secret.

             The Company has represented that the Holland America Group ESAVP vessel visits were

   conducted without the knowledge or approval of the CMO or the CCM. As noted above, supra,

   Part III.E, decisions were made to fund these efforts, but the CCM’s request to fund a

   comprehensive Fleet Environmental Officer program was denied. Further, as described above,

   supra, Part I.D.3, a senior Holland America Group executive apparently lobbied the U.S. Coast

   Guard about a specific ECP issue without the authorization or knowledge of the CCM. These

   and other issues described in this Report indicate that the largest compliance challenge facing the

   Company comes not from the compliance issues on the ships, but from the actions, and failures

   to act, at the Company’s highest levels of management—the most obvious manifestation of

   which is the now years-long failure to comply with the condition of probation requiring the

   Company to provide the CCM with actual authority over environmental compliance.



                                                        Respectfully Submitted,




                                                        STEVEN P. SOLOW
                                                        Court Appointed Monitor

                                                        April 2, 2019




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                                   ATTACHMENT 1:
       LETTER FROM C. DONALD, RE: PROPOSED MODIFICATIONS TO THE ENVIRONMENTAL
                 COMPLIANCE PLAN (JAN. 10, 2019), PCL_ECP00086780-85
                                 [See following pages]
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                                   ATTACHMENT 2:
   CHART, PROPOSED MODIFICATIONS TO ENVIRONMENTAL COMPLIANCE PLAN (JAN. 10, 2019),
                               PCL_ECP00086786-91
                                 [See following pages]
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                                   ATTACHMENT 3:
          LETTER FROM S. SOLOW, RE: ENVIRONMENTAL COMPLIANCE PLAN (“ECP”)
                ENVIRONMENTAL CONTROL SYSTEM (“ECS”) (JAN. 25, 2019)
                                 [See following pages]
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   CONFIDENTIAL

   Re:     Environmental Compliance Plan (“ECP”) Environmental Control System (“ECS”)


   Dear All,

   Below and attached is a notice from the Company regarding their efforts with respect to the
   Environmental Compliance Plan (“ECP”) Environmental Control System (“ECS”). As the
   attached notice states, the Company is “currently developing plans to improve ECS compliance
   and increase application consistency across [their] fleet.” 2019-1-8 CAM and TPA Production
   Letter_PCL_ECP00086778.

   As you know, the ECS program is a requirement of the ECP that was agreed upon as a condition
   of probation. See ECP § IX.B. The Court Appointed Monitor (“CAM”) Team (supported by our
   maritime engineers from Martin & Ottaway) has reviewed and analyzed dozens of Company
   flash reports and Third Party Auditor (“TPA”) audit reports, visited ships, and held numerous
   conversations with crew members, the TPA and the Company regarding the ECS program.
   Based on this review, the CAM and TPA concluded that the current ECS program has four
   significant flaws:

   First, the language of the ECP creates an unrealistic expectation for the role of the ECS. The
   ECP states that the Company shall:

          implement an [ECS] to help prevent unauthorized usage or connections within the engine
          room and machinery spaces . . . [and] use numbered seals, locks, or welds (on flanges) to
          prevent the unauthorized connection to, and discharge through, piping systems that are or
          may be connected to the oily bilge system or overboard discharge connections

   ECP § IX.B.1 (emphasis added). It is the opinion of the marine engineers we have spoken to
   (inside and outside of the Company) that no seal system can be relied upon to prevent

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                                       A limited liability partnership including professional corporations
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   unauthorized usage or connections. Rather, an ECS system can help to both deter and detect
   unauthorized usage or connections, and the ECP could be changed to reflect this reality.

   Second, the broad language of the ECP, coupled with the overall lack of centralization within the
   Company on compliance matters, has led to a wide variety of interpretations of the ECS
   requirements. Some ships have as many as 2,000 seals, while others have as few as five. A ship
   with 2,000 seals—coupled with the seal inspections and documentation requirements of the
   ECP—distorts the importance of this obligation, resulting in an excess of Environmental Officer
   and Chief Engineer time spent on seal checking, documentation, replacement, and so forth. For
   the purpose of illustration, attached to this letter are photographs and descriptions of a seal found
   on a vessel that could not reasonably be considered a meaningful means of preventing, deterring
   or detecting unauthorized discharges. Implementation of seals in this way, however, results in a
   significant amount of time—and even some safety concerns—to perform the ECP-required
   inspections.

   Third, the lack of clarity and consistency of the current ECS program has made the TPA’s
   auditing job difficult, and frustrated both the TPA auditors and the ships’ crews. Most notably,
   the ECP requires the use of seals or locks to secure vulnerable connections. Based on discussion
   with the TPA and the Company, all agree that the use of pump (portable) and hose control (so-
   called virtual seals or locks) would be more effective and more efficient than seals. However,
   because of the current ECP requirements, if ships have used pump and hose control, the TPA has
   been (properly) issuing audit non-conformities in ECP Year 2. See, e.g., Carnival Splendor Audit
   Report (May 2, 2018); Golden Princess Audit Report (May 30, 2018); Oosterdam Audit Report
   (July 27, 2018); Caribbean Princess Audit Report (Sept. 12, 2018); AIDAmar Audit Report
   (Sept. 19, 2018); Ventura Audit Report (Oct. 24, 2018); Ruby Princess Audit Report (Oct. 31,
   2018); Carnival Horizon Audit Report (Nov. 7. 2018); Star Princess Audit Report (Nov. 24,
   2018). The ECP requires that the Company address audit findings, see ECP § VIII.F.1, and that
   the CAM is obliged to report when audit findings have not been resolved. See ECP § VI.F.6.
   Resolving these repeated audit findings in a reasonable way appears to require revision of the
   ECP.

   Fourth and finally, the current system is not sustainable. It is not reasonable to expect the
   Company to continue the current system after the expiration of the term of probation. In some
   ways, this may be the largest problem, as a compliance program recognized as problematic can
   undercut support for compliance as a whole.

   One of the goals of the ECP is “continuous improvement in environmental performance.” See
   ECP ¶¶ X.A.1.j.; Attachment 2. The CAM and TPA believe that a revision to the language of the
   ECP would help meet this goal.
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   The CAM and the TPA would support the following ECP revisions and other changes noted
   below regarding the ECS program:

          1. Revised language to ECP § IX.B.1 to reflect the role of the ECS to “deter and detect”
             (rather than “prevent”) unauthorized usage or connections.

          2. Revised language to allow for the use of pump (portable) and hose control as an
             effective means of deterring and detecting unauthorized usage or connections.

          3. Revised language to limit the locations where seals or locks are required to be
             installed to: (1) overboard discharge points back to the first valve on the line
             connection (for “dirty” systems only—e.g., bilge/oil residue (sludge), grey, black
             water, food waste); (2) emergency direct bilge suctions, emergency bilge suction
             valves, crossover valves, and eductors; and (3) any identified internal “dirty-to-clean”
             cross connections.

          4. In addition to revisions to the ECP, a revision of the company’s Global HESS
             Procedure Env-1204 to reflect these changes, and (consistent with the Company’s
             goal to provide meaningful compliance authority for the Corporate Compliance
             Manager (“CCM”)) new language in Env-1204 and INT-10005 that would give the
             CCM authority over any revision to this approach.

   The CAM Team has actively engaged with the TPA and the Company over the last several
   months to flesh out these approaches. The parties agree that the goal is to have an ECS program
   that can be consistently implemented, is objectively auditable, and is sustainable beyond the span
   of the ECP. Notably, we credit the CCM and his team with their pursuit of this effort.

   Because the alternative approach described in this letter would require a revision of the ECP, the
   TPA and the CAM are awaiting proposed ECP changes from the Company. If those proposed
   changes are consistent with the approach described above, it is urged that the Interested Parties
   support such changes, and indeed consider them as an approach appropriate for use in
   subsequent ECP agreements. It is believed that doing so will reduce the time (and anxiety)
   associated with managing the current program, thereby freeing up time for ship personnel to
   perform other oversight duties, and help create a sustainable and consistent program designed to
   support compliance in the future.
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   Please let me know if you would like to discuss.

   Regards,




   Steven P. Solow

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   Attachments:

          2019-1-8 CAM and TPA Production Letter_PCL_ECP00086778

          Attachment to CAM Letter Regarding ECP Environmental Control System
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                                   ATTACHMENT 4:
      ATTACHMENT TO CAM LETTER REGARDING ECP ENVIRONMENTAL CONTROL SYSTEM
                                  (01/25/2019)
                                 [See following pages]
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   As noted in the attached letter, the current ECS program has resulted in ships applying hundreds or
   thousands of seals, leading to an excess amount of time spent performing ECP-required inspections.
   Moreover, many of the seals provide little by way of value towards the goal of preventing unauthorized
   discharges.

   During one ship visit, the CAM Team observed that, consistent with the current ECP approach, a seal had
   been placed on a manhole cover to one of the oily bilge tanks (annotated on the Critical valves, Fittings,
   and Tank Hatches List as Tank hatch Intermediate Oily Bilge Tank 15P – with location as Provision
   corridor B-deck cofferdam). This manhole cover is located within a void space (cofferdam). The access
   manhole cover to the void space is located on A Deck (I-95).

   Access to this seal (which must be examined weekly) requires the following:

   The seal is located in a void space beneath the heavily trafficked main corridor (I-95). Accessing the seal
   in this highly public space requires cordoning off the area and creating a large opening in the deck.




   Removing the access manhole cover requires loosening and removing twenty (20) large nuts.




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   Once the nuts are removed, the access manhole cover must be removed for access to the void space
   below.




   Notably, to truly examine the seal (pictured below), the EO must obtain a confined space entry permit,
   which requires the time and approval of the Captain / Staff Captain.




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   This entire process is required to be repeated on a weekly basis under the current program. While not
   all seals are so difficult to reach, this example helps to illustrate the need to reform the existing ECS
   program to one that limits the use of seals to those most likely to help deter or detect unauthorized
   discharges.




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